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                                       UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA



In Re. Borrego Community Health Foundation                          §                  Case No. 22-02384
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                   Chapter 11

Reporting Period Ended: 03/31/2023                                                       Petition Date: 09/12/2022

Months Pending: 7                                                                        Industry Classification:    6    2   2      1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          617

Debtor's Full-Time Employees (as of date of order for relief):                   490



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Rosemarie MacIsaac                                                       Rosemarie MacIsaac, Chief Executive Officer
Signature of Responsible Party                                               Printed Name of Responsible Party
05/30/2023
                                                                             587 Palm Canyon Dr., Suite 208, Borrego Springs, CA
Date
                                                                             92004
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name Borrego Community Health Foundation                                                  Case No. 22-02384


Part 1: Cash Receipts and Disbursements                                             Current Month           Cumulative

a.   Cash balance beginning of month                                                       $15,093,125
b.   Total receipts (net of transfers between accounts)                                    $17,150,867                 $77,678,155
c.   Total disbursements (net of transfers between accounts)                               $12,244,352                 $63,263,061
d.   Cash balance end of month (a+b-c)                                                     $19,999,640
e.   Disbursements made by third party for the benefit of the estate                                  $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                               $12,244,352                 $63,263,061
Part 2: Asset and Liability Status                                                  Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                            $35,036,896
b.   Accounts receivable over 90 days outstanding (net of allowance)                       $32,756,906
c.   Inventory       ( Book        Market      Other      (attach explanation))             $1,207,263
d    Total current assets                                                                  $73,167,595
e.   Total assets                                                                          $87,049,098
f.   Postpetition payables (excluding taxes)                                                $3,149,075
g.   Postpetition payables past due (excluding taxes)                                                 $0
h.   Postpetition taxes payable                                                                    $4,072
i.   Postpetition taxes past due                                                                      $0
j.   Total postpetition debt (f+h)                                                          $3,153,147
k.   Prepetition secured debt                                                                 $224,937
l.   Prepetition priority debt                                                                $189,235
m. Prepetition unsecured debt                                                              $11,327,933
n.   Total liabilities (debt) (j+k+l+m)                                                    $14,895,252
o.   Ending equity/net worth (e-n)                                                         $72,153,846

Part 3: Assets Sold or Transferred                                                  Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                               $0                       $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                          $0                       $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                         $0                       $0

Part 4: Income Statement (Statement of Operations)                                 Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                       $8,937,720
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                    $0
c.   Gross profit (a-b)                                                                     $8,937,720
d.   Selling expenses                                                                          $25,104
e.   General and administrative expenses                                                    $6,138,177
f.   Other expenses                                                                                 $0
g.   Depreciation and/or amortization (not included in 4b)                                    $149,866
h.   Interest                                                                                  $-6,513
i.   Taxes (local, state, and federal)                                                              $0
j.   Reorganization items                                                                   $2,085,851
k.   Profit (loss)                                                                            $545,235                  $4,182,653


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Debtor's Name Borrego Community Health Foundation                                                            Case No. 22-02384

Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total            $425,471     $4,611,135         $301,325     $3,476,272
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Ankura Consulting Group           Financial Professional             $301,325     $1,234,530         $301,325     $1,234,530
       ii       Dentons US, L.L.P.                Lead Counsel                             $0      $879,271                $0       $711,144
       iii      Hooper, Lundy & Bookman           Special Counsel                    $124,146      $987,914                $0       $608,683
       iv       Kurtzman Carson Consultants Other                                          $0      $518,268                $0       $407,826
       v        FTI Consulting                    Financial Professional                   $0      $528,225                $0       $317,460
       vi       Pachulski Stang Zeihl & Jones Lead Counsel                                 $0      $238,720                $0       $162,660
       vii      Patient Care Ombudsman            Other                                    $0      $182,120                $0             $0
       viii     LNBY&G L.L.P.                     Special Counsel                          $0       $42,087                $0        $33,969
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                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total        $151,038      $730,249         $151,038        $626,156
       Itemized Breakdown by Firm
                Firm Name                        Role
       i        Berkeley Research Group          Other                              $151,038      $258,627         $151,038        $258,627
       ii       Wipfli LLP                       Other                                    $0      $252,255                $0       $182,279
       iii      Creative Media Group, L.L.C. Other                                        $0       $24,454                $0        $24,454
       iv       Higgs, Fletcher & Mack L.L.P. Special Counsel                             $0       $19,150                $0        $19,150
       v        Jarrard Inc.                     Other                                    $0      $175,763                $0       $141,646
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c.       All professional fees and expenses (debtor & committees)             $576,509      $5,341,384          $452,363      $4,102,428




Part 6: Postpetition Taxes                                                               Current Month               Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                         $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                            $0                          $0
c.   Postpetition employer payroll taxes accrued                                                   $1,154,876                $4,358,052
d.   Postpetition employer payroll taxes paid                                                       $274,063                 $2,451,336
e.   Postpetition property taxes paid                                                                      $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                        $651                     $4,072
g.   Postpetition other taxes paid (local, state, and federal)                                             $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No       N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                      Yes        No
                                 If yes, are your premiums current?                Yes        No       N/A      (if no, see Instructions)
                             Casualty/property insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No       N/A      (if no, see Instructions)
                             General liability insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No       N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                $0
b.      Gross income (receipts) from self-employment                                                                 $0
c.      Gross income from all other sources                                                                          $0
d.      Total income in the reporting period (a+b+c)                                                                 $0
e.      Payroll deductions                                                                                           $0
f.      Self-employment related expenses                                                                             $0
g.      Living expenses                                                                                              $0
h.      All other expenses                                                                                           $0
i.      Total expenses in the reporting period (e+f+g+h)                                                             $0
j.      Difference between total income and total expenses (d-i)                                                     $0
k.      List the total amount of all postpetition debts that are past due                                            $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Rosemarie MacIsaac                                                          Rosemarie MacIsaac
Signature of Responsible Party                                                  Printed Name of Responsible Party

Chief Executive Officer                                                         05/30/2023
Title                                                                           Date




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                                                        Bankruptcy1to50




                                                       Bankruptcy51to100




                                                      NonBankruptcy1to50




                                                     NonBankruptcy51to100




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Borrego Community Health Foundation                                        75
Debtors

Statement of Cash Receipts and Disbursements
($ in US Dollars)

                                                                             Borrego Community Health
Debtor(s):
                                                                                    Foundation
                                                                           Current Month   Cumulative
                                                                             3/31/2023      3/31/2023
Cash at Beginning of Period1                                               $ 15,093,125
Receipts
Operating Cash Receipts                                                         14,679,383        60,543,005
Intercompany Receipts - Debtors                                                                            -
Intercompany Receipts - Non-debtors                                                                        -
Non-Operating Inflows2                                                            2,471,484       17,135,150
  Total Cash Receipts                                                           17,150,867        77,678,155
Disbursements
Operating Cash Disbursements                                                    11,791,989        59,316,170
Non-Operating Cash Disbursements                                                                   (629,896)
Intercompany Disbursements - Debtors                                                                       -
Intercompany Disbursements - Non-debtors                                                                   -
Interest Payments and Fees                                                                                 -
Professional Fees                                                                  452,363         4,319,480
Other Restructuring Disbursements                                                                    257,307
  Total Disbursements                                                           12,244,352        63,263,061
Net Cash Flow
Net Cash Flow (Total Receipts less Total Disbursements)                           4,906,516       14,415,094
Net Cash Flow From DIP Loan
Gross DIP Loan Proceeds
Less: Deductions for fees and expenses
  Net DIP Loan Proceeds

Exchange Rate Gain/(Loss)
Cash at End of Period                                                           19,999,640
Outstanding Check Float and Deposits in Transit                                          -
Bank Cash at End of Period                                                 $    19,999,640
Disbursements for Calculating U.S. Trustee Quarterly Fees
Total Disbursements                                                             12,244,352        31,099,718
Less: Amounts paid on behalf of other Debtors                                            -                 -
Disbursements made by third party for the benefit of the estate                          -                 -
Total disbursements for quarterly fee calculation                               12,244,352        31,099,718

1
 Ending cash does not reconcile to ending cash on the balance sheet due to the timing of when expenses /
revenue is recorded and when disbursements / receipts are actually received.
2
    Represents American Rescue Plan Act grant draws during the period.
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Debtors

                                                               Borrego
                                                             Community
Balance Sheet                                             Health Foundation
($ in US Dollars)                                             3/31/2023
Assets
Current Assets
Cash and cash equivalents                                         20,486,250
Accounts receivable, uncollectible                                       -
Accounts receivable, net                                          35,036,896
Inventories, net                                                   1,207,263
Other Receivables, Prepaids, & Deposits                           16,437,186
Short Term Deferred Tax Assets
  Total Current Assets                                            73,167,595
Fixed assets, net                                                 12,002,824
Other long-term assets                                             1,878,679
  Total Assets                                            $       87,049,098
Liabilities and Owners' Equity
Liabilities Not Subject to Compromise
A/P Clearing                                                             -
Outstanding Checks                                                       -
Trade & Bills Payable                                                    -
Accounts payable (excl. taxes)                                     3,149,075
Postpetition taxes payable                                             4,072
Postpetition taxes past due                                              -
Total postpetition debt                                            3,153,147
Trade & Bills Payables (Intercompany)                                    -
Accrued liabilities                                                      -
Other long-term liabilities                                              -
LT Lease Liability                                                       -

Total Liabilities Not Subject To Compromise                        3,153,147
Liabilities Subject to Compromise
                            1
Prepetition secured debt                                                224,937
                            1
Prepetition priority debt                                               189,235
                                1
Prepetition unsecured debt                                        11,327,933
Other                                                             84,393,531
Total Liabilities Subject to Compromise                           96,135,636
Total Liabilities                                                 99,288,782
Owners' Equity
Prepetition Retained Earnings / (Accumulated Deficit)             (8,864,192)
Postpetition Retained Earnings / (Accumulated Deficit)            (3,375,492)
Total Retained Earnings                                          (12,239,684)
Total Liabilities and Equity                              $       87,049,098
Ending equity/net worth                                   $      (12,239,684)

1
 Represents balances as of 9/12/22 Petition Date, as presented in the
Schedules of Assets and Liabilities [Docket No. 97].
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Debtors
                                                  Borrego Community Health
                                                          Foundation
Statement of Operations                          Current Period Cumulative
($ in US Dollars)                                  3/31/2023      3/31/2023
Net Patient & Other Revenue                           6,955,533        46,324,885
Net Grant Revenue                                     1,982,187        14,098,169
Net Revenue1                                          8,937,720        60,423,054
OTHER INCOME AND EXPENSES
Selling expenses                                         25,104           165,576
General and administrative expenses                   6,138,177        35,130,693
Other expenses                                              -           6,163,764
Depreciation and/or amortization (not
included in 4b)                                         149,866          951,180
Other Non-Operating Income                                                   -
Net Interest (Income)/Expense                            (6,513)         (47,598)
Net Profit Before Reorganization Items                2,631,086        18,059,439

Reorganization items                                        -                 -
Total Reorganization Expenses                               -                 -
Non-recurring items                                   2,085,851        13,876,785
Taxes (local, state, and federal)                           -                 -
Net Income (Loss)                                $      545,235    $    4,182,653
Total Discontinued Profit                                   -                 -
OCI/Expense, Net of tax                                     -                 -
NCI Income/Expense                                          -                 -
Profit Attributable to SH                        $      545,235    $    4,182,653
1
  Amount includes Net Patient Revenue, Net Pharmacy Revenue and Grant Revenue
(including ARPA Grant).
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     Borrego Community Health Foundation

     Part 7a: Schedule of Payments on Prepetition Debts
     ($ in US Dollars)

      Note: Payments only as authorized by Court order.
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            Borrego Community Health Foundation

            Accounts Receivable Aging - March
            ($ in US Dollars)

            Accounts Receivable Aging (Net of Allowances)     Balance
            0 - 30 days old                                            70,472
            31 - 60 days old                                          747,860
            61 - 90 days old                                        1,461,657
            91+ days old                                           32,756,906
            Total Accounts Receivable                              35,036,896
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Borrego Community Health Foundation
Part 7c: Schedule of Payments to Insiders
($ in US Dollars)

                                        Date of payment of   Amount of cash payment or market value of
              Recipient                  benefit provided               non-cash payment                         Reason for payment
Chief Executive Officer                           3/3/2023                                  16,500.00    February & March wages & benefits
Chief Operating Officer                           3/3/2023                                  11,670.00    February & March wages & benefits
Chief Legal Officer                               3/3/2023                                  12,500.00    February & March wages & benefits
Chief Compliance Officer                          3/3/2023                                  10,312.31    February & March wages & benefits
VP of Information Technology                      3/3/2023                                   8,896.15    February & March wages & benefits
VP of Information Technology                     3/13/2023                                     528.36    Expense Reimbursement
Chief Executive Officer                          3/17/2023                                  16,500.00    March wages & benefits
Chief Operating Officer                          3/17/2023                                  11,600.00    March wages & benefits
Chief Legal Officer                              3/17/2023                                  12,500.00    March wages & benefits
Chief Compliance Officer                         3/17/2023                                  10,192.31    March wages & benefits
VP of Information Technology                     3/17/2023                                   8,846.15    March wages & benefits
Chief Executive Officer                          3/20/2023                                   3,765.62    Expense Reimbursement
Chief Executive Officer                          3/22/2023                                   2,429.02    Expense Reimbursement
Chief Compliance Officer                         3/27/2023                                   5,374.43    Expense Reimbursement
Chief Compliance Officer                         3/30/2023                                     367.50    Expense Reimbursement
Chief Executive Officer                          3/31/2023                                  16,500.00    March wages & benefits
Chief Operating Officer                          3/31/2023                                  11,600.00    March wages & benefits
Chief Legal Officer                              3/31/2023                                  12,500.00    March wages & benefits
Chief Compliance Officer                         3/31/2023                                  10,192.31    March wages & benefits
VP of Information Technology                     3/31/2023                                   8,846.15    March wages & benefits
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Case 22-02384-LT11   Filed 06/13/23   Entered 06/13/23 16:38:01   Doc 744   Pg. 29 of
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Case 22-02384-LT11   Filed 06/13/23   Entered 06/13/23 16:38:01   Doc 744   Pg. 30 of
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                                                                                          Account #:            000


                        This statement: March 31, 2023                                    Contact us:
                        Last statement: February 28, 2023                                 800 773-7100

                                                                                          Riverside Main Office
                                                                                          3484 Central Avenue
                        075                                          0830L                Riverside CA 92506
                        BORREGO COMMUNITY HEALTH FOUNDATION
                        DEBTOR-IN-POSSESION                                               cnb.com
                        DIP CASE #. 22-02384-11
                        PO BOX 2369
                        BORREGO SPRINGS CA 92004-2369




Analyzed Checking Account
 Account Summary                                           Account Activity
 Account number                                  000       Beginning balance (2/28/2023)                                           $0.00
 Minimum balance                               $0.00
 Average balance                           $3,621.31       Credits Deposits      (0)                        + 0.00
 Avg. collected balance                    $3,621.00               Electronic cr (2)                    + 3,486.71
                                                                   Other credits (14)               + 5,484,629.34
                                                                   Total credits                                        +$5,488,116.05

                                                           Debits   Checks paid (21)                     - 40,625.13
                                                                    Electronic db (12)               - 5,335,739.85
                                                                    Other debits (2)                   - 111,751.07
                                                                    Total debits                                         - $5,488,116.05

                                                           Ending balance (3/31/2023)                                              $0.00

ELECTRONIC CREDITS
Date      Description                                                                                                              Credits
3-9       Preauthorized Credit MERITAIN HEALTH INS. CLAIM PPD BORREGO COMMUN 15866A                                               974.62
3-21      Preauthorized Credit MERITAIN HEALTH GRP.COBRA 15866A BORREGO COMMUNITY CCD                                           2,512.09

OTHER CREDITS
Date      Description                                                                               Reference                      Credits
3-1       Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                         60,435.27
3-2       Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                      1,638,109.87
3-3       Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                         82,970.15
3-7       Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                            688.83
3-8       Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                        111,078.40
3-14      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                          1,411.03
3-15      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                         46,774.24
3-16      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                      1,617,401.54
3-20      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                         10,866.90
3-22      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                        163,240.16
3-27      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                          6,098.67
3-28      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                          2,433.58
3-29      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                        112,389.02
3-30      Automatic     TRANSFER   FROM   ZBA   TRANSFER            993                                                      1,630,731.68

CHECKS PAID
 Number    Date               Amount   Number    Date          Amount     Number   Date          Amount    Number     Date         Amount
 16835   3-1                80.35      16868   3-9           1,994.22     16872 * 3-20          870.20     16874      3-20        545.12
 16867 * 3-1             1,963.64      16870 * 3-7             688.83     16873   3-3           668.63     16875      3-28      1,243.45
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                        BORREGO COMMUNITY HEALTH FOUNDATION                    Page 2
                        March 31, 2023                                         Account #:           000




CHECKS PAID (Continued)
 Number    Date            Amount   Number    Date        Amount   Number    Date      Amount      Number    Date             Amount
 16877 * 3-14            1,411.03   16882     3-20        821.25   16886     3-30   13,482.92      16891     3-28       1,190.13
 16879 * 3-15            1,042.50   16883     3-20      6,364.84   16887     3-27    2,965.05      * Skip in check sequence
 16880   3-20              859.58   16884     3-20        223.75   16888     3-27    2,364.15
 16881   3-22              256.20   16885     3-21        819.82   16890 *   3-27      769.47

ELECTRONIC DEBITS
Date      Description                                                                                                          Debits
3-1       Preauthorized Debit HNB - MERITAIN ACH XFR BORREGO COMMUNI 4106315 CCD                                       58,391.28
3-2       Outgoing Drawdown                                                                                         1,636,927.71
3-3       Preauthorized Debit MERITAIN HEALTH COF DEBIT 000000000015866 BORREGO
          COMMUNITY CCD                                                                                                83,483.68
3-15      Preauthorized Debit HNB - MERITAIN ACH XFR BORREGO COMMUNI 4143201 CCD                                       45,731.74
3-16      Preauthorized Debit CERIDIAN AKA CDC WAGE ATT CCD BORREGO COMMUN WAGE
          ATTACHMENT PA YMENT                                                                                           1,115.28
3-16      Outgoing Drawdown                                                                                         1,616,286.26
3-20      Preauthorized Debit CERIDIAN AKA CDC WAGE ATT CCD BORREGO COMMUN WAGE
          ATTACHMENT PA YMENT                                                                                           1,182.16
3-22      Preauthorized
                     Debit HNB - MERITAIN ACH XFR BORREGO COMMUNI 4160586 CCD                                          53,316.59
3-22      Preauthorized
                     Debit EPC - TRUST CASHCD MERITAIN BORREGO COMMUNITY CCD                                          109,667.37
3-29      Preauthorized
                     Debit HNB - MERITAIN ACH XFR BORREGO COMMUNI 4179462 CCD                                         112,389.02
3-30      Preauthorized
                     Debit CERIDIAN AKA CDC WAGE ATT CCD BORREGO COMMUN WAGE
          ATTACHMENT PA YMENT                                                                                           1,238.46
3-30      Outgoing Drawdown                                                                                         1,616,010.30

OTHER DEBITS
Date      Description                                                                       Reference                          Debits
3-9       Automatic TRANSFER TO ZBA TRANSFER              993                                                         110,058.80
3-21      Automatic TRANSFER TO ZBA TRANSFER              993                                                           1,692.27

DAILY BALANCES
Date                       Amount Date                    Amount Date                  Amount Date                            Amount
 2-28                         .00   3-8              111,078.40    3-20                      .00   3-29                          .00
 3-1                          .00   3-9                     .00    3-21                      .00   3-30                          .00
 3-2                     1,182.16   3-14                    .00    3-22                      .00
 3-3                          .00   3-15                    .00    3-27                      .00
 3-7                          .00   3-16                    .00    3-28                      .00




                                           Thank you for banking with Riverside Main Office
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PLEASE EXAMINE THIS STATEMENT AND ENCLOSED ITEMS AT ONCE. IF NO ERROR IS REPORTED
WITHIN 30 DAYS, THIS STATEMENT WILL BE CONSIDERED CORRECT. ALL ITEMS CREDITED SUBJECT
TO FINAL PAYMENT.

IN CASE OF ERRORS OR QUESTIONS REGARDING ELECTRONIC TRANSFERS ON CHECKING OR
SAVING ACCOUNTS

Contact us at the telephone number or address shown on the front of this statement as soon as you can, if you
think your statement or receipt is wrong or if you need more information about a transfer on the statement or
receipt. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error
or problem appeared. 1. Tell us your name and account number. 2. The dollar amount of the suspected error. 3.
Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there
is an error or why you need more information.

We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or
20 business days for new accounts) to do this, we will credit your account for the amount you think is in error, so
that you will have use of the money during the time it takes us to complete our investigation.

If you have arranged to have direct deposits (e.g. Social Security) made to your consumer account at least once
every sixty days from the same person or company, you can call us (the phone number is on the front of this
statement) to find out whether the deposit has been made.


We suggest you retain this statement for your record.

                                                                                  Member FDIC
bchf                                          Case 22-02384-LT11   Filed 06/13/23
                                                                       Payroll    Entered
                                                                               Summary    06/13/23
                                                                                       Report      16:38:01
                                                                                              (PR002)                                            Doc 744       Pg. 52 of                               Dayforce
                                                                                    75
Pay Date:               3/3/2023                                                             Borrego Health                                                    Run By:              12997
Pay Period:             2/13/2023 - 2/26/2023                                               (Committed data only)                                              Commit Date:         2/28/2023 12:54:40 PM
PPN:                    05 - 00                                                                                                                                Run Type:            Normal
                                                                                                                                                               Run Number:          308
                                                                                                                                                               Check # Range:       16859 - 906342416


                                                                            Borrego Health Totals
                                                              Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                   EE Count: 607; Male: 169; Female: 438
                                                                              Gross To Net
                                            Type             Adjustments                       Current                              Total               MTD              QTD                   YTD
                                                         Hours      Amount            Hours         Amount             Hours            Amount

       Earnings          Bereavement                                                     8.0000            $168.44        8.0000             $168.44          $168.44        $3,286.48             $3,286.48
                         Bonus                                                                                                                                              $46,250.00            $46,250.00
                         Break Premium                                                   4.0000             $82.57        4.0000              $82.57           $82.57           $961.31              $961.31
                         Cell Allowance                                                                  $5,970.00                         $5,970.00        $5,970.00       $17,570.00            $17,570.00
                         Clinic Closure                                                132.8995          $3,670.04      132.8995           $3,670.04        $3,670.04        $3,935.40             $3,935.40
                         CME Stipend                                                                     $4,600.00                         $4,600.00        $4,600.00       $10,700.00            $10,700.00
                         CME Training                                                   80.0000          $9,957.15       80.0000           $9,957.15        $9,957.15       $25,359.04            $25,359.04
                         Covid Sick Pay                                                                                                                                     $19,168.92            $19,168.92
                         Department Chair                                                                  $769.23                           $769.23          $769.23        $6,153.84             $6,153.84
                         Doubletime                                                      2.7334            $134.73        2.7334             $134.73          $134.73           $382.99              $382.99
                         Employee Recognition Program                                                                                                                        $2,616.72             $2,616.72
                         Extra Hours                                                   195.1166         $26,391.10      195.1166          $26,391.10       $26,391.10      $122,753.31           $122,753.31
                         Gift Certificate                                              412.2998         $13,594.59      412.2998          $13,594.59       $13,594.59       $53,428.40            $53,428.40
                         Holiday Pay                                                                                                                                       $383,704.94           $383,704.94
                         Holiday Pay Unscheduled                                                                                                                            $53,610.34            $53,610.34
                         Holiday Worked                                                                                                                                     $48,873.23            $48,873.23
                         Interim Assignment                                                                                                                                  $1,730.76             $1,730.76
                         Interim Pay Differential                                                          $333.52                           $333.52          $333.52        $1,667.60             $1,667.60
                         Jury Duty                                                      39.9998            $959.90       39.9998             $959.90          $959.90        $6,234.31             $6,234.31
                         LOA Vacation                                                                                                                                        $9,542.46             $9,542.46
                         Location Pay Differential                                                                                                                           $3,076.92             $3,076.92
                         Meal Premium                                                  193.9982          $5,120.70      193.9982           $5,120.70        $5,120.70       $23,858.05            $23,858.05
                         Mileage Reimb                                                                   $3,904.85                         $3,904.85        $3,904.85       $20,546.03            $20,546.03
                         On Call                                                                         $2,200.00                         $2,200.00        $2,200.00        $7,260.00             $7,260.00
                         On-call Stipend                                                                 $5,000.00                         $5,000.00        $5,000.00       $25,000.00            $25,000.00
                         Overtime                                                      587.5491         $21,015.79      587.5491          $21,015.79       $21,015.79      $100,222.56           $100,222.56
                         Provider Admin Differential                                                                                                                         $1,153.86             $1,153.86
                         Regular                                                     34,455.5648      $1,320,078.69   34,455.5648       $1,320,078.69   $1,320,078.69    $6,218,529.46         $6,218,529.46
                         Regular -retro                                                                                                                                     $15,040.71            $15,040.71
                         Remote Work Stipend                                                             $4,600.00                         $4,600.00        $4,600.00       $14,270.00            $14,270.00
                         Self Care Day                                                                                                                                          $540.00              $540.00
                         Sick                                                         2,279.2983        $71,741.06     2,279.2983         $71,741.06       $71,741.06      $318,482.04           $318,482.04
                         Snow Day                                                      101.8998          $2,177.88      101.8998           $2,177.88        $2,177.88        $2,177.88             $2,177.88
                         Supplemental Pay                                                                $6,354.78                         $6,354.78        $6,354.78       $23,349.51            $23,349.51
                         Travel Hours                                                    5.7000          $1,235.79        5.7000           $1,235.79        $1,235.79        $9,741.28             $9,741.28
                         Vacation                                                     1,847.6494        $81,764.22     1,847.6494         $81,764.22       $81,764.22      $531,687.60           $531,687.60
                         Vacation Payout                                               324.0900         $29,339.50      324.0900          $29,339.50       $29,339.50       $97,428.27            $97,428.27
                         Total                                               $0.00   40,670.7987      $1,621,164.53   40,670.7987       $1,621,164.53   $1,621,164.53    $8,230,294.22         $8,230,294.22


   Pre-Tax Deductions    125 AFL                                                                            $34.18                            $34.18           $34.18           $170.90              $170.90



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bchf                                             Case 22-02384-LT11    Filed 06/13/23
                                                                           Payroll    Entered
                                                                                   Summary    06/13/23
                                                                                           Report      16:38:01
                                                                                                  (PR002)                                  Doc 744       Pg. 53 of                               Dayforce
                                                                                        75
Pay Date:                  3/3/2023                                                          Borrego Health                                              Run By:              12997
Pay Period:                2/13/2023 - 2/26/2023                                            (Committed data only)                                        Commit Date:         2/28/2023 12:54:40 PM
PPN:                       05 - 00                                                                                                                       Run Type:            Normal
                                                                                                                                                         Run Number:          308
                                                                                                                                                         Check # Range:       16859 - 906342416


                                                                                Borrego Health Totals
                                                                  Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                             EE Count: 607; Male: 169; Female: 438
                                                                                  Gross To Net
                                               Type              Adjustments                     Current                      Total               MTD              QTD                   YTD
                                                             Hours      Amount           Hours        Amount          Hours       Amount

                            125 Den HMO                                                                   $1,385.04                   $1,385.04       $1,385.04        $6,813.90             $6,813.90
                            125 DEN PPO                                                                   $7,059.17                   $7,059.17       $7,059.17       $35,019.25            $35,019.25
                            125 Med                                                                      $19,362.50                  $19,362.50      $19,362.50       $95,337.50            $95,337.50
                            401K Catch up Pretax                                                           $929.87                     $929.87          $929.87        $9,906.01             $9,906.01
                            401K Elective Pre Tax                                                        $51,343.61                  $51,343.61      $51,343.61      $272,187.69           $272,187.69
                            Col Group Accident                                                                                                                             $11.25               $11.25
                            Col Group Med-Bridge                                                                                                                           $24.75               $24.75
                            Total                                                $0.00                   $80,114.37                  $80,114.37      $80,114.37      $419,471.25           $419,471.25


          Taxes             0001 Fed W/H                                                                $180,186.59                 $180,186.59    $180,186.59       $933,851.55           $933,851.55
                            0003 FICA EE                                                                 $98,615.09                  $98,615.09      $98,615.09      $500,830.63           $500,830.63
                            0023 Fed MWT EE                                                              $23,063.06                  $23,063.06      $23,063.06      $117,129.70           $117,129.70
                            0501 CA W/H                                                                  $68,918.58                  $68,918.58      $68,918.58      $358,136.18           $358,136.18
                            0505 CA DT EE                                                                $14,136.90                  $14,136.90      $14,136.90       $71,808.60            $71,808.60
                            3601 OH W/H                                                                     $64.58                      $64.58           $64.58           $358.75              $358.75
                            36FP OkwdVillW/H-C                                                              $59.83                      $59.83           $59.83           $324.72              $324.72
                            Total                                                $0.00                  $385,044.63                 $385,044.63    $385,044.63     $1,982,440.13         $1,982,440.13


  Garnishments (Multiple    Creditor Garnishment                                                            $50.90                      $50.90           $50.90           $459.33              $459.33
         Items)
                            Current Support                                                                $851.06                     $851.06          $851.06        $4,022.71             $4,022.71
                            State Tax Levy                                                                 $280.20                     $280.20          $280.20        $1,396.44             $1,396.44
                            Total                                                $0.00                    $1,182.16                   $1,182.16       $1,182.16        $5,878.48             $5,878.48


   Post-Tax Deductions      401K Loan Re-Pmt                                                               $595.43                     $595.43          $595.43        $3,127.15             $3,127.15
                            Air Med                                                                                                                                       $100.00              $100.00
                            Col Group - CI                                                                                                                                 $15.35               $15.35
                            Col Group - STD                                                                                                                               $158.20              $158.20
                            Critical Illness                                                               $983.72                     $983.72          $983.72        $4,892.63             $4,892.63
                            Domestic Partner                                                              $1,175.00                   $1,175.00       $1,175.00        $4,875.00             $4,875.00
                            Employee Recognition Deduction                                                                                                             $2,609.44             $2,609.44
                            Group Accident                                                                 $649.51                     $649.51          $649.51        $3,312.83             $3,312.83
                            Medical Bridge                                                                 $854.55                     $854.55          $854.55        $4,318.15             $4,318.15
                            MetLife Legal                                                                  $187.72                     $187.72          $187.72           $978.12              $978.12
                            MetLife Pet Insurance                                                                                                                          $10.00               $10.00
                            Post VTL1                                                                     $2,368.75                   $2,368.75       $2,368.75       $12,089.27            $12,089.27
                            Post VTL2                                                                      $280.39                     $280.39          $280.39        $1,405.82             $1,405.82
                            Roth 401K Election-Post Tax                                                   $4,100.31                   $4,100.31       $4,100.31       $20,642.24            $20,642.24
                            Whole Life                                                                    $2,282.42                   $2,282.42       $2,282.42       $11,303.40            $11,303.40
                            Total                                                $0.00                   $13,477.80                  $13,477.80      $13,477.80       $69,837.60            $69,837.60



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bchf                                                Case 22-02384-LT11                  Filed 06/13/23
                                                                                            Payroll    Entered
                                                                                                    Summary    06/13/23
                                                                                                            Report      16:38:01
                                                                                                                   (PR002)                                              Doc 744        Pg. 54 of                                   Dayforce
                                                                                                         75
Pay Date:                    3/3/2023                                                                          Borrego Health                                                          Run By:                 12997
Pay Period:                  2/13/2023 - 2/26/2023                                                            (Committed data only)                                                    Commit Date:            2/28/2023 12:54:40 PM
PPN:                         05 - 00                                                                                                                                                   Run Type:               Normal
                                                                                                                                                                                       Run Number:             308
                                                                                                                                                                                       Check # Range:          16859 - 906342416


                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                              EE Count: 607; Male: 169; Female: 438
                                                                                                    Gross To Net
                                                  Type                           Adjustments                      Current                                  Total                MTD                  QTD                    YTD
                                                                             Hours      Amount            Hours        Amount                 Hours            Amount

            Net Pay                                                                                                                                            $1,141,345.57    $1,141,345.57        $5,752,666.76          $5,752,666.76


        Memo Earnings          ER EAP                                                                                           $523.59                             $523.59           $523.59            $2,635.62             $2,635.62
                               ER Ins Medical                                                                                 $39,700.00                         $39,700.00       $39,700.00           $201,600.00           $201,600.00
                               ER Life                                                                                          $842.62                             $842.62           $842.62            $4,253.40             $4,253.40
                               ER Vision                                                                                       $1,588.38                          $1,588.38        $1,588.38             $8,003.65             $8,003.65
                               LOA Unpaid                                                                  40.0000                               40.0000
                               MED Dom Partner IC                                                                              $1,146.72                          $1,146.72        $1,146.72             $5,542.48             $5,542.48
                               Unpaid Time                                                                 48.3000                               48.3000
                               Total                                                              $0.00    88.3000            $43,801.31         88.3000         $43,801.31       $43,801.31           $222,035.15           $222,035.15


        Memo Deductions        Workers Comp ER                                                                                $19,187.70                         $19,187.70       $19,187.70            $97,279.95            $97,279.95
                               Total                                                              $0.00                       $19,187.70                         $19,187.70       $19,187.70            $97,279.95            $97,279.95

* italicized amounts are not factored into net and impound totals

                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                              EE Count: 607; Male: 169; Female: 438
                                                                                                 Tax Expense Summary
                 Type                         Rate                      Current                                      MTD                                                QTD                                        YTD
                                                          Ltd Taxable Wage             Tax            Ltd Taxable Wage               Tax                 Ltd Taxable Wage          Tax              Ltd Taxable Wage                 Tax
0002 FICA ER                                      6.2%              $1,590,565.51        $98,615.09          $1,590,565.51                  $98,615.09          $8,077,913.12         $500,830.63           $8,077,913.12               $500,830.63
0022 Fed MWT ER                                  1.45%              $1,590,565.51        $23,063.06          $1,590,565.51                  $23,063.06          $8,077,913.12         $117,129.70           $8,077,913.12               $117,129.70
0004 Fed UT ER                                                       $236,811.61                               $236,811.61                                      $3,788,734.56                               $3,788,734.56
0504 CA UT ER                                                        $236,811.61                               $236,811.61                                      $3,760,734.56                               $3,760,734.56
0508 CA DRT                                                          $236,811.61                               $236,811.61                                      $3,760,734.56                               $3,760,734.56
1004 FL UT ER                                                                                                                                                       $7,000.00             $189.00               $7,000.00                   $189.00
1008 FL DRT                                                                                                                                                         $7,000.00                                   $7,000.00
3604 OH UT ER                                                                                                                                                       $9,000.00             $243.00               $9,000.00                   $243.00
3607 OH DRT                                                                                                                                                         $7,000.00                                   $7,000.00
OH WCT ER                                                              $2,393.00                                  $2,393.00                                       $12,988.00                                   $12,988.00
4404 TN UT ER                                                                                                                                                       $7,000.00             $189.00               $7,000.00                   $189.00
TN DRT                                                                                                                                                              $7,000.00                                   $7,000.00
4504 TX UT ER                                                                                                                                                       $9,000.00             $243.00               $9,000.00                   $243.00
TX DRT                                                                                                                                                              $7,000.00                                   $7,000.00
Total                                                                                   $121,678.15                                        $121,678.15                                $618,824.33                                       $618,824.33




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bchf                                    Case 22-02384-LT11                  Filed 06/13/23
                                                                                Payroll    Entered
                                                                                        Summary    06/13/23
                                                                                                Report      16:38:01
                                                                                                       (PR002)                                            Doc 744            Pg. 55 of                                   Dayforce
                                                                                             75
Pay Date:               3/3/2023                                                                    Borrego Health                                                           Run By:                  12997
Pay Period:             2/13/2023 - 2/26/2023                                                     (Committed data only)                                                      Commit Date:             2/28/2023 12:54:40 PM
PPN:                    05 - 00                                                                                                                                              Run Type:                Normal
                                                                                                                                                                             Run Number:              308
                                                                                                                                                                             Check # Range:           16859 - 906342416


                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                     EE Count: 607; Male: 169; Female: 438
                                                                                Wages and Tax Liabilities
                                ID                   Type          Rate                         Current                                              QTD                                                  YTD
                                                                            Tot Taxable       Ltd Taxable         Tax          Tot Taxable       Ltd Taxable         Tax           Tot Taxable       Ltd Taxable          Tax
                                                                               Wage              Wage                             Wage              Wage                              Wage              Wage

   Federal Deposit   330440021         0001 Fed W/H                           $1,538,292.03     $1,538,292.03    $180,186.59     $7,795,819.42     $7,795,819.42    $933,851.55      $7,795,819.42     $7,795,819.42      $933,851.55
                     330440021         0003 FICA EE                  6.2%     $1,590,565.51     $1,590,565.51     $98,615.09     $8,077,913.12     $8,077,913.12    $500,830.63      $8,077,913.12     $8,077,913.12      $500,830.63
                     330440021         0002 FICA ER                  6.2%     $1,590,565.51     $1,590,565.51     $98,615.09     $8,077,913.12     $8,077,913.12    $500,830.63      $8,077,913.12     $8,077,913.12      $500,830.63
                     330440021         0023 Fed MWT EE              1.45%     $1,590,565.51     $1,590,565.51     $23,063.06     $8,077,913.12     $8,077,913.12    $117,129.70      $8,077,913.12     $8,077,913.12      $117,129.70
                     330440021         0022 Fed MWT ER              1.45%     $1,590,565.51     $1,590,565.51     $23,063.06     $8,077,913.12     $8,077,913.12    $117,129.70      $8,077,913.12     $8,077,913.12      $117,129.70
                     330440021         0004 Fed UT ER                         $1,589,418.79      $236,811.61                     $8,072,370.64     $3,788,734.56                     $8,072,370.64     $3,788,734.56
                     Total                                                                                       $423,542.89                                       $2,169,772.21                                        $2,169,772.21


  State Witholding   910-4765-4        0501 CA W/H                            $1,519,836.75     $1,519,836.75     $68,918.58     $7,703,382.42     $7,703,382.42    $358,136.18      $7,703,382.42     $7,703,382.42      $358,136.18
                     910-4765-4        0504 CA UT ER                          $1,570,757.26      $236,811.61                     $7,978,719.99     $3,760,734.56                     $7,978,719.99     $3,760,734.56
                     Applied For       0508 CA DRT                             $236,811.61       $236,811.61                     $3,760,734.56     $3,760,734.56                     $3,760,734.56     $3,760,734.56
                     910-4765-4        0505 CA DT EE                          $1,570,757.26     $1,570,757.26     $14,136.90     $7,978,719.99     $7,978,719.99     $71,808.60      $7,978,719.99     $7,978,719.99       $71,808.60
                     3849378           1004 FL UT ER                            $10,293.15                                          $51,225.75        $7,000.00         $189.00        $51,225.75         $7,000.00             $189.00
                     Applied For       1008 FL DRT                                                                                   $7,000.00        $7,000.00                         $7,000.00         $7,000.00
                     54198296          3601 OH W/H                               $2,393.00         $2,393.00         $64.58         $12,988.00       $12,988.00         $358.75        $12,988.00        $12,988.00             $358.75
                     2000019090        3604 OH UT ER                             $2,393.00                                          $12,988.00        $9,000.00         $243.00        $12,988.00         $9,000.00             $243.00
                     Applied For       3607 OH DRT                                                                                   $7,000.00        $7,000.00                         $7,000.00         $7,000.00
                     Applied For       OH WCT ER                                 $2,393.00         $2,393.00                        $12,988.00       $12,988.00                        $12,988.00        $12,988.00
                     Applied For       4404 TN UT ER                             $3,863.20                                          $19,116.00        $7,000.00         $189.00        $19,116.00         $7,000.00             $189.00
                     Applied For       TN DRT                                                                                        $7,000.00        $7,000.00                         $7,000.00         $7,000.00
                     Applied For       4504 TX UT ER                             $2,400.00                                          $11,760.00        $9,000.00         $243.00        $11,760.00         $9,000.00             $243.00
                     Applied For       TX DRT                                                                                        $7,000.00        $7,000.00                         $7,000.00         $7,000.00
                     Total                                                                                        $83,120.06                                        $431,167.53                                           $431,167.53


    Other Taxes      Applied For       36FP OkwdVillW/H-C                        $2,393.00         $2,393.00         $59.83         $12,988.00       $12,988.00         $324.72        $12,988.00        $12,988.00             $324.72
                     Total                                                                                           $59.83                                             $324.72                                                 $324.72
    Total Taxes                                                                                                  $506,722.78                                       $2,601,264.46                                        $2,601,264.46

                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                 Tax Service Liabilities
               Tax                   Amount                   ID                      Tax                       Amount                     ID                        Tax                         Amount                      ID
0001 Fed W/H                             $180,186.59 330440021        0501 CA W/H                                   $68,918.58 910-4765-4               36FP OkwdVillW/H-C                                 $59.83 Applied For
0003 FICA EE                              $98,615.09 330440021        0504 CA UT ER                                       $0.00 910-4765-4
0002 FICA ER                              $98,615.09 330440021        0508 CA DRT                                         $0.00 Applied For
0023 Fed MWT EE                           $23,063.06 330440021        0505 CA DT EE                                 $14,136.90 910-4765-4
0022 Fed MWT ER                           $23,063.06 330440021        1004 FL UT ER                                       $0.00 3849378
0004 Fed UT ER                                  $0.00 330440021       1008 FL DRT                                         $0.00 Applied For
                                                                      3601 OH W/H                                        $64.58 54198296


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bchf                                    Case 22-02384-LT11                 Filed 06/13/23
                                                                               Payroll    Entered
                                                                                       Summary    06/13/23
                                                                                               Report      16:38:01
                                                                                                      (PR002)                                      Doc 744     Pg. 56 of                               Dayforce
                                                                                            75
Pay Date:             3/3/2023                                                                 Borrego Health                                                  Run By:             12997
Pay Period:           2/13/2023 - 2/26/2023                                                   (Committed data only)                                            Commit Date:        2/28/2023 12:54:40 PM
PPN:                  05 - 00                                                                                                                                  Run Type:           Normal
                                                                                                                                                               Run Number:         308
                                                                                                                                                               Check # Range:      16859 - 906342416


                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                    Tax Service Liabilities
                Tax                  Amount                      ID                     Tax              Amount                   ID                     Tax                    Amount                    ID
                                                                        3604 OH UT ER                             $0.00 2000019090
                                                                        3607 OH DRT                               $0.00 Applied For
                                                                        4404 TN UT ER                             $0.00 Applied For
                                                                        4504 TX UT ER                             $0.00 Applied For
Total                                     $423,542.89                                                        $83,120.06                                                                  $59.83
Total Tax Liability                                                                                                                                                                 $506,722.78
Total Tax Impound                                                                                                                                                                   $506,722.78

                                                                                      Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                Client Responsible Tax Liabilities
                Tax                  Amount                      ID                     Tax              Amount                   ID                     Tax                    Amount                    ID
                                                                        OH WCT ER                                 $0.00 Applied For
                                                                        TN DRT                                    $0.00 Applied For
                                                                        TX DRT                                    $0.00 Applied For
Total                                             $0.00                                                           $0.00                                                                   $0.00
Total Taxes                                                                                                                                                                               $0.00

                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                  Net Payroll and Impounds
                                                                                                                            Count                            Amount
                            Ceridian Checks 330440021-3404                                                                       19     { 1 $0 }                            $29,047.42
                            Ceridian Direct Deposits 330440021-3404                                                             608    { 39 $0 }                         $1,101,157.51
                            Total Net Payroll                                                                                   627                                      $1,130,204.93
                            Garnishments 330440021-3404                                                                           7                                          $1,182.16
                            Total Garnishment Impound                                                                             7                                          $1,182.16
                            Tax Liability 330440021-3404                                                                                                                   $506,722.78
                            Total Tax Liability                                                                                                                            $506,722.78
                            Total Tax Impound                                                                                                                              $506,722.78
                            Total Impound                                                                                                                                $1,638,109.87
                            Onsite Checks 330440021-3404                                                                          9                                         $12,111.86
                            Void Checks 330440021-3404                                                                            1                                          ($971.22)
                            Total Adjustments                                                                                    10                                         $11,140.64
                            Cust Resp Taxes 330440021-3404                                                                                                                       $0.00
                            Total                                                                                                                                        $1,649,250.51
                            Impound Date:                                                                                                                                 Mar 02, 2023




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bchf                               Case 22-02384-LT11                     Filed 06/13/23
                                                                              Payroll    Entered
                                                                                      Summary    06/13/23
                                                                                              Report      16:38:01
                                                                                                     (PR002)                                             Doc 744         Pg. 57 of                          Dayforce
                                                                                           75
Pay Date:      3/3/2023                                                                             Borrego Health                                                       Run By:              12997
Pay Period:    2/13/2023 - 2/26/2023                                                               (Committed data only)                                                 Commit Date:         2/28/2023 12:54:40 PM
PPN:           05 - 00                                                                                                                                                   Run Type:            Normal
                                                                                                                                                                         Run Number:          308
                                                                                                                                                                         Check # Range:       16859 - 906342416


                                                                                  Borrego Health Totals
                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                       Bank Totals
                                          Bank Name                                                                                                   Count                 Amount
                     City National Bank                              Ceridian Checks 330440021-3404                                                      19   { 1 $0 }               $29,047.42
                                                                     Ceridian Direct Deposits 330440021-3404                                            608   { 39 $0              $1,101,157.51
                                                                                                                                                                    }
                                                                     Bank Total                                                                         627                        $1,130,204.93
                     Total                                                                                                                              627                        $1,130,204.93

                                                                                                      Census Data
                             Cur On File**                                                            587            Employees Paid                                                   547
                             New Hires**                                                                8            Employees Not Paid**                                              40
                             Active**                                                                 560            Paid This Month*                                                     0
                             Inactive**                                                                18            Paid On 12th*                                                        0
                             Terminated**                                                               8
                     ** Value computed as of 2/28/2023 1:05:48 PM                                              * Based on the paydate of the payrun




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bchf                                    Case 22-02384-LT11   Filed 06/13/23
                                                                 Payroll    Entered
                                                                         Summary    06/13/23
                                                                                 Report      16:38:01
                                                                                        (PR002)                                            Doc 744       Pg. 58 of                               Dayforce
                                                                              75
Pay Date:         3/17/2023                                                            Borrego Health                                                    Run By:              12997
Pay Period:       2/27/2023 - 3/12/2023                                               (Committed data only)                                              Commit Date:         3/14/2023 12:57:29 PM
PPN:              06 - 00                                                                                                                                Run Type:            Normal
                                                                                                                                                         Run Number:          309
                                                                                                                                                         Check # Range:       16868 - 906449159


                                                                      Borrego Health Totals
                                                        Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                             EE Count: 610; Male: 169; Female: 441
                                                                        Gross To Net
                                      Type             Adjustments                       Current                              Total               MTD              QTD                   YTD
                                                   Hours      Amount            Hours         Amount             Hours            Amount

       Earnings    Administrative Leave                                           11.5000          $2,300.00       11.5000           $2,300.00        $2,300.00        $2,300.00             $2,300.00
                   Bereavement                                                     8.0000            $136.00        8.0000             $136.00          $304.44        $3,422.48             $3,422.48
                   Bonus                                                                                                                                              $46,250.00            $46,250.00
                   Break Premium                                                  21.9998            $472.86       21.9998             $472.86          $555.43        $1,434.17             $1,434.17
                   Cell Allowance                                                                    $630.00                           $630.00        $6,600.00       $18,200.00            $18,200.00
                   Clinic Closure                                                                                                                     $3,670.04        $3,935.40             $3,935.40
                   CME Stipend                                                                                                                        $4,600.00       $10,700.00            $10,700.00
                   CME Training                                                   98.0000          $9,710.13       98.0000           $9,710.13       $19,667.28       $35,069.17            $35,069.17
                   Covid Sick Pay                                                                                                                                     $19,168.92            $19,168.92
                   Department Chair                                                                  $769.23                           $769.23        $1,538.46        $6,923.07             $6,923.07
                   Doubletime                                                      9.4665            $445.88        9.4665             $445.88          $580.61           $828.87              $828.87
                   Employee Recognition Program                                                      $423.07                           $423.07          $423.07        $3,039.79             $3,039.79
                   Extra Hours                                                   291.8000         $44,487.50      291.8000          $44,487.50       $70,878.60      $167,240.81           $167,240.81
                   Gift Certificate                                              274.0002         $10,986.23      274.0002          $10,986.23       $24,580.82       $64,414.63            $64,414.63
                   Holiday Pay                                                                                                                                       $383,704.94           $383,704.94
                   Holiday Pay Unscheduled                                                                                                                            $53,610.34            $53,610.34
                   Holiday Worked                                                                                                                                     $48,873.23            $48,873.23
                   Interim Assignment                                                                                                                                  $1,730.76             $1,730.76
                   Interim Pay Differential                                                                                                             $333.52        $1,667.60             $1,667.60
                   Jury Duty                                                      60.0000          $3,068.93       60.0000           $3,068.93        $4,028.83        $9,303.24             $9,303.24
                   LOA Vacation                                                                                                                                        $9,542.46             $9,542.46
                   Location Pay Differential                                                                                                                           $3,076.92             $3,076.92
                   Meal Premium                                                  217.9986          $5,387.84      217.9986           $5,387.84       $10,508.54       $29,245.89            $29,245.89
                   Mileage Reimb                                                                   $7,102.56                         $7,102.56       $11,007.41       $27,648.59            $27,648.59
                   On Call                                                                         $1,900.00                         $1,900.00        $4,100.00        $9,160.00             $9,160.00
                   On-call Stipend                                                                 $5,000.00                         $5,000.00       $10,000.00       $30,000.00            $30,000.00
                   Overtime                                                      595.6813         $20,631.67      595.6813          $20,631.67       $41,647.46      $120,854.23           $120,854.23
                   Provider Admin Differential                                                                                                                         $1,153.86             $1,153.86
                   Regular                                                     35,360.0497      $1,368,645.97   35,360.0497       $1,368,645.97   $2,688,724.66    $7,587,175.43         $7,587,175.43
                   Regular -retro                                                                                                                                     $15,040.71            $15,040.71
                   Reimbursement                                                                     $259.60                           $259.60          $259.60           $259.60              $259.60
                   Remote Work Stipend                                                               $950.00                           $950.00        $5,550.00       $15,220.00            $15,220.00
                   Self Care Day                                                  16.0000          $1,343.88       16.0000           $1,343.88        $1,343.88        $1,883.88             $1,883.88
                   Sick                                                         1,648.6496        $56,229.62     1,648.6496         $56,229.62     $127,970.68       $374,711.66           $374,711.66
                   Snow Day                                                       71.7168          $1,515.76       71.7168           $1,515.76        $3,693.64        $3,693.64             $3,693.64
                   Supplemental Pay                                                                                                                   $6,354.78       $23,349.51            $23,349.51
                   Travel Hours                                                   29.0831          $3,279.36       29.0831           $3,279.36        $4,515.15       $13,020.64            $13,020.64
                   Vacation                                                     1,304.5823        $49,173.10     1,304.5823         $49,173.10     $130,937.32       $580,860.70           $580,860.70
                   Vacation Payout                                               106.9100          $3,399.01      106.9100           $3,399.01       $32,738.51      $100,827.28           $100,827.28
                   Total                                               $0.00   40,125.4379      $1,598,248.20   40,125.4379       $1,598,248.20   $3,219,412.73    $9,828,542.42         $9,828,542.42



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bchf                                             Case 22-02384-LT11    Filed 06/13/23
                                                                           Payroll    Entered
                                                                                   Summary    06/13/23
                                                                                           Report      16:38:01
                                                                                                  (PR002)                                  Doc 744       Pg. 59 of                               Dayforce
                                                                                        75
Pay Date:                  3/17/2023                                                         Borrego Health                                              Run By:              12997
Pay Period:                2/27/2023 - 3/12/2023                                            (Committed data only)                                        Commit Date:         3/14/2023 12:57:29 PM
PPN:                       06 - 00                                                                                                                       Run Type:            Normal
                                                                                                                                                         Run Number:          309
                                                                                                                                                         Check # Range:       16868 - 906449159


                                                                                Borrego Health Totals
                                                                  Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                             EE Count: 610; Male: 169; Female: 441
                                                                                  Gross To Net
                                               Type              Adjustments                     Current                      Total               MTD              QTD                   YTD
                                                             Hours      Amount           Hours        Amount          Hours       Amount

   Pre-Tax Deductions       125 AFL                                                                       ($170.90)                   ($170.90)       ($136.72)
                            125 Den HMO                                                                   $1,404.00                   $1,404.00       $2,789.04        $8,217.90             $8,217.90
                            125 DEN PPO                                                                   $7,098.10                   $7,098.10      $14,157.27       $42,117.35            $42,117.35
                            125 Med                                                                      $19,731.96                  $19,731.96      $39,094.46      $115,069.46           $115,069.46
                            401K Catch up Pretax                                                           $984.30                     $984.30        $1,914.17       $10,890.31            $10,890.31
                            401K Elective Pre Tax                                                        $48,042.50                  $48,042.50      $99,386.11      $320,230.19           $320,230.19
                            Col Group Accident                                                                                                                             $11.25               $11.25
                            Col Group Med-Bridge                                                                                                                           $24.75               $24.75
                            Total                                                $0.00                   $77,089.96                  $77,089.96    $157,204.33       $496,561.21           $496,561.21


          Taxes             0001 Fed W/H                                                                $173,037.37                 $173,037.37    $353,223.96     $1,106,888.92         $1,106,888.92
                            0003 FICA EE                                                                 $96,966.09                  $96,966.09    $195,581.18       $597,796.72           $597,796.72
                            0023 Fed MWT EE                                                              $22,677.59                  $22,677.59      $45,740.65      $139,807.29           $139,807.29
                            0501 CA W/H                                                                  $66,843.00                  $66,843.00    $135,761.58       $424,979.18           $424,979.18
                            0505 CA DT EE                                                                $13,885.17                  $13,885.17      $28,022.07       $85,693.77            $85,693.77
                            3601 OH W/H                                                                     $66.75                      $66.75          $131.33           $425.50              $425.50
                            36FP OkwdVillW/H-C                                                              $61.38                      $61.38          $121.21           $386.10              $386.10
                            Total                                                $0.00                  $373,537.35                 $373,537.35    $758,581.98     $2,355,977.48         $2,355,977.48


  Garnishments (Multiple    Creditor Garnishment                                                            $79.08                      $79.08          $129.98           $538.41              $538.41
         Items)
                            Current Support                                                                $773.53                     $773.53        $1,624.59        $4,796.24             $4,796.24
                            State Tax Levy                                                                 $262.67                     $262.67          $542.87        $1,659.11             $1,659.11
                            Total                                                $0.00                    $1,115.28                   $1,115.28       $2,297.44        $6,993.76             $6,993.76


   Post-Tax Deductions      401K Loan Re-Pmt                                                               $595.43                     $595.43        $1,190.86        $3,722.58             $3,722.58
                            Air Med                                                                                                                                       $100.00              $100.00
                            Col Group - CI                                                                                                                                 $15.35               $15.35
                            Col Group - STD                                                                ($67.80)                    ($67.80)        ($67.80)            $90.40               $90.40
                            Critical Illness                                                              $1,143.04                   $1,143.04       $2,126.76        $6,035.67             $6,035.67
                            Domestic Partner                                                              $1,025.00                   $1,025.00       $2,200.00        $5,900.00             $5,900.00
                            Employee Recognition Deduction                                                 $423.07                     $423.07          $423.07        $3,032.51             $3,032.51
                            Group Accident                                                                 $689.84                     $689.84        $1,339.35        $4,002.67             $4,002.67
                            Medical Bridge                                                                 $874.20                     $874.20        $1,728.75        $5,192.35             $5,192.35
                            MetLife Legal                                                                  $187.72                     $187.72          $375.44        $1,165.84             $1,165.84
                            MetLife Pet Insurance                                                                                                                          $10.00               $10.00
                            Post VTL1                                                                     $2,358.88                   $2,358.88       $4,727.63       $14,448.15            $14,448.15
                            Post VTL2                                                                      $277.86                     $277.86          $558.25        $1,683.68             $1,683.68
                            Roth 401K Election-Post Tax                                                   $4,328.05                   $4,328.05       $8,428.36       $24,970.29            $24,970.29
                            Whole Life                                                                    $2,282.42                   $2,282.42       $4,564.84       $13,585.82            $13,585.82
                            Total                                                $0.00                   $14,117.71                  $14,117.71      $27,595.51       $83,955.31            $83,955.31


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bchf                                                Case 22-02384-LT11                  Filed 06/13/23
                                                                                            Payroll    Entered
                                                                                                    Summary    06/13/23
                                                                                                            Report      16:38:01
                                                                                                                   (PR002)                                              Doc 744       Pg. 60 of                                    Dayforce
                                                                                                         75
Pay Date:                    3/17/2023                                                                          Borrego Health                                                         Run By:                 12997
Pay Period:                  2/27/2023 - 3/12/2023                                                             (Committed data only)                                                   Commit Date:            3/14/2023 12:57:29 PM
PPN:                         06 - 00                                                                                                                                                   Run Type:               Normal
                                                                                                                                                                                       Run Number:             309
                                                                                                                                                                                       Check # Range:          16868 - 906449159


                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                              EE Count: 610; Male: 169; Female: 441
                                                                                                    Gross To Net
                                                  Type                           Adjustments                      Current                                 Total                 MTD                  QTD                    YTD
                                                                             Hours      Amount            Hours        Amount                 Hours           Amount

            Net Pay                                                                                                                                            $1,132,387.90    $2,273,733.47        $6,885,054.66          $6,885,054.66


        Memo Earnings          ER EAP                                                                                           $524.52                             $524.52        $1,048.11             $3,160.14             $3,160.14
                               ER Ins Medical                                                                                 $39,700.00                         $39,700.00       $79,400.00           $241,300.00           $241,300.00
                               ER Life                                                                                          $836.65                             $836.65        $1,679.27             $5,090.05             $5,090.05
                               ER Vision                                                                                       $1,592.86                          $1,592.86        $3,181.24             $9,596.51             $9,596.51
                               MED Dom Partner IC                                                                              $1,146.72                          $1,146.72        $2,293.44             $6,689.20             $6,689.20
                               Unpaid Time                                                                 122.5000                            122.5000
                               Total                                                              $0.00    122.5000           $43,800.75       122.5000          $43,800.75       $87,602.06           $265,835.90           $265,835.90


        Memo Deductions        Workers Comp ER                                                                                $19,003.38                         $19,003.38       $38,191.08           $116,283.33           $116,283.33
                               Total                                                              $0.00                       $19,003.38                         $19,003.38       $38,191.08           $116,283.33           $116,283.33

* italicized amounts are not factored into net and impound totals

                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                              EE Count: 610; Male: 169; Female: 441
                                                                                                 Tax Expense Summary
                 Type                         Rate                      Current                                       MTD                                               QTD                                        YTD
                                                          Ltd Taxable Wage             Tax             Ltd Taxable Wage              Tax                 Ltd Taxable Wage          Tax              Ltd Taxable Wage                 Tax
0002 FICA ER                                      6.2%              $1,563,969.60        $96,966.09           $3,154,535.11                $195,581.18          $9,641,882.72         $597,796.72           $9,641,882.72               $597,796.72
0022 Fed MWT ER                                  1.45%              $1,563,969.60        $22,677.59           $3,154,535.11                 $45,740.65          $9,641,882.72         $139,807.29           $9,641,882.72               $139,807.29
0004 Fed UT ER                                                        $82,723.82                                $319,535.43                                     $3,871,458.38                               $3,871,458.38
0504 CA UT ER                                                         $81,209.39                                $318,021.00                                     $3,841,943.95                               $3,841,943.95
0508 CA DRT                                                           $81,209.39                                $318,021.00                                     $3,841,943.95                               $3,841,943.95
1004 FL UT ER                                                                                                                                                       $7,000.00             $189.00               $7,000.00                   $189.00
1008 FL DRT                                                                                                                                                         $7,000.00                                   $7,000.00
3604 OH UT ER                                                                                                                                                       $9,000.00             $243.00               $9,000.00                   $243.00
3607 OH DRT                                                                                                                                                         $7,000.00                                   $7,000.00
OH WCT ER                                                              $2,455.00                                  $4,848.00                                       $15,443.00                                   $15,443.00
4404 TN UT ER                                                                                                                                                       $7,000.00             $189.00               $7,000.00                   $189.00
TN DRT                                                                                                                                                              $7,000.00                                   $7,000.00
4504 TX UT ER                                     2.7%                 $1,514.43              $40.89              $1,514.43                    $40.89             $10,514.43              $283.89              $10,514.43                   $283.89
TX DRT                                                                 $1,514.43                                  $1,514.43                                         $8,514.43                                   $8,514.43
Total                                                                                   $119,684.57                                        $241,362.72                                $738,508.90                                       $738,508.90




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bchf                                    Case 22-02384-LT11                  Filed 06/13/23
                                                                                Payroll    Entered
                                                                                        Summary    06/13/23
                                                                                                Report      16:38:01
                                                                                                       (PR002)                                            Doc 744            Pg. 61 of                                   Dayforce
                                                                                             75
Pay Date:               3/17/2023                                                                   Borrego Health                                                           Run By:                  12997
Pay Period:             2/27/2023 - 3/12/2023                                                     (Committed data only)                                                      Commit Date:             3/14/2023 12:57:29 PM
PPN:                    06 - 00                                                                                                                                              Run Type:                Normal
                                                                                                                                                                             Run Number:              309
                                                                                                                                                                             Check # Range:           16868 - 906449159


                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                     EE Count: 610; Male: 169; Female: 441
                                                                                Wages and Tax Liabilities
                                ID                   Type          Rate                         Current                                              QTD                                                  YTD
                                                                            Tot Taxable       Ltd Taxable         Tax          Tot Taxable       Ltd Taxable         Tax           Tot Taxable       Ltd Taxable          Tax
                                                                               Wage              Wage                             Wage              Wage                              Wage              Wage

   Federal Deposit   330440021         0001 Fed W/H                           $1,514,942.80     $1,514,942.80    $173,037.37     $9,310,762.22     $9,310,762.22   $1,106,888.92     $9,310,762.22     $9,310,762.22    $1,106,888.92
                     330440021         0003 FICA EE                  6.2%     $1,563,969.60     $1,563,969.60     $96,966.09     $9,641,882.72     $9,641,882.72    $597,796.72      $9,641,882.72     $9,641,882.72      $597,796.72
                     330440021         0002 FICA ER                  6.2%     $1,563,969.60     $1,563,969.60     $96,966.09     $9,641,882.72     $9,641,882.72    $597,796.72      $9,641,882.72     $9,641,882.72      $597,796.72
                     330440021         0023 Fed MWT EE              1.45%     $1,563,969.60     $1,563,969.60     $22,677.59     $9,641,882.72     $9,641,882.72    $139,807.29      $9,641,882.72     $9,641,882.72      $139,807.29
                     330440021         0022 Fed MWT ER              1.45%     $1,563,969.60     $1,563,969.60     $22,677.59     $9,641,882.72     $9,641,882.72    $139,807.29      $9,641,882.72     $9,641,882.72      $139,807.29
                     330440021         0004 Fed UT ER                         $1,562,822.88       $82,723.82                     $9,635,193.52     $3,871,458.38                     $9,635,193.52     $3,871,458.38
                     Total                                                                                       $412,324.73                                       $2,582,096.94                                        $2,582,096.94


  State Witholding   910-4765-4        0501 CA W/H                            $1,495,128.69     $1,495,128.69     $66,843.00     $9,198,511.11     $9,198,511.11    $424,979.18      $9,198,511.11     $9,198,511.11      $424,979.18
                     910-4765-4        0504 CA UT ER                          $1,542,804.92       $81,209.39                     $9,521,524.91     $3,841,943.95                     $9,521,524.91     $3,841,943.95
                     Applied For       0508 CA DRT                              $81,209.39        $81,209.39                     $3,841,943.95     $3,841,943.95                     $3,841,943.95     $3,841,943.95
                     910-4765-4        0505 CA DT EE                          $1,542,804.92     $1,542,804.92     $13,885.17     $9,521,524.91     $9,521,524.91     $85,693.77      $9,521,524.91     $9,521,524.91       $85,693.77
                     3849378           1004 FL UT ER                            $10,173.15                                          $61,398.90        $7,000.00         $189.00        $61,398.90         $7,000.00             $189.00
                     Applied For       1008 FL DRT                                                                                   $7,000.00        $7,000.00                         $7,000.00         $7,000.00
                     54198296          3601 OH W/H                               $2,455.00         $2,455.00         $66.75         $15,443.00       $15,443.00         $425.50        $15,443.00        $15,443.00             $425.50
                     2000019090        3604 OH UT ER                             $2,455.00                                          $15,443.00        $9,000.00         $243.00        $15,443.00         $9,000.00             $243.00
                     Applied For       3607 OH DRT                                                                                   $7,000.00        $7,000.00                         $7,000.00         $7,000.00
                     Applied For       OH WCT ER                                 $2,455.00         $2,455.00                        $15,443.00       $15,443.00                        $15,443.00        $15,443.00
                     Applied For       4404 TN UT ER                             $3,763.20                                          $22,879.20        $7,000.00         $189.00        $22,879.20         $7,000.00             $189.00
                     Applied For       TN DRT                                                                                        $7,000.00        $7,000.00                         $7,000.00         $7,000.00
                     Applied For       4504 TX UT ER                 2.7%        $3,914.43         $1,514.43         $40.89         $15,674.43       $10,514.43         $283.89        $15,674.43        $10,514.43             $283.89
                     Applied For       TX DRT                                    $1,514.43         $1,514.43                         $8,514.43        $8,514.43                         $8,514.43         $8,514.43
                     Total                                                                                        $80,835.81                                        $512,003.34                                           $512,003.34


    Other Taxes      Applied For       36FP OkwdVillW/H-C                        $2,455.00         $2,455.00         $61.38         $15,443.00       $15,443.00         $386.10        $15,443.00        $15,443.00             $386.10
                     Total                                                                                           $61.38                                             $386.10                                                 $386.10
    Total Taxes                                                                                                  $493,221.92                                       $3,094,486.38                                        $3,094,486.38

                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                 Tax Service Liabilities
               Tax                   Amount                   ID                      Tax                       Amount                     ID                        Tax                         Amount                      ID
0001 Fed W/H                             $173,037.37 330440021        0501 CA W/H                                   $66,843.00 910-4765-4               36FP OkwdVillW/H-C                                 $61.38 Applied For
0003 FICA EE                              $96,966.09 330440021        0504 CA UT ER                                       $0.00 910-4765-4
0002 FICA ER                              $96,966.09 330440021        0508 CA DRT                                         $0.00 Applied For
0023 Fed MWT EE                           $22,677.59 330440021        0505 CA DT EE                                 $13,885.17 910-4765-4
0022 Fed MWT ER                           $22,677.59 330440021        1004 FL UT ER                                       $0.00 3849378
0004 Fed UT ER                                  $0.00 330440021       1008 FL DRT                                         $0.00 Applied For
                                                                      3601 OH W/H                                        $66.75 54198296


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bchf                                    Case 22-02384-LT11                 Filed 06/13/23
                                                                               Payroll    Entered
                                                                                       Summary    06/13/23
                                                                                               Report      16:38:01
                                                                                                      (PR002)                                       Doc 744     Pg. 62 of                               Dayforce
                                                                                            75
Pay Date:             3/17/2023                                                                Borrego Health                                                   Run By:             12997
Pay Period:           2/27/2023 - 3/12/2023                                                   (Committed data only)                                             Commit Date:        3/14/2023 12:57:29 PM
PPN:                  06 - 00                                                                                                                                   Run Type:           Normal
                                                                                                                                                                Run Number:         309
                                                                                                                                                                Check # Range:      16868 - 906449159


                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                    Tax Service Liabilities
                Tax                  Amount                      ID                     Tax              Amount                    ID                     Tax                    Amount                    ID
                                                                        3604 OH UT ER                              $0.00 2000019090
                                                                        3607 OH DRT                                $0.00 Applied For
                                                                        4404 TN UT ER                              $0.00 Applied For
                                                                        4504 TX UT ER                             $40.89 Applied For
Total                                     $412,324.73                                                        $80,835.81                                                                   $61.38
Total Tax Liability                                                                                                                                                                  $493,221.92
Total Tax Impound                                                                                                                                                                    $493,221.92

                                                                                      Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                Client Responsible Tax Liabilities
                Tax                  Amount                      ID                     Tax              Amount                    ID                     Tax                    Amount                    ID
                                                                        OH WCT ER                                  $0.00 Applied For
                                                                        TN DRT                                     $0.00 Applied For
                                                                        TX DRT                                     $0.00 Applied For
Total                                             $0.00                                                            $0.00                                                                   $0.00
Total Taxes                                                                                                                                                                                $0.00

                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                  Net Payroll and Impounds
                                                                                                                             Count                            Amount
                            Ceridian Checks 330440021-3404                                                                        19                                         $31,144.05
                            Ceridian Direct Deposits 330440021-3404                                                              603    { 40 $0 }                         $1,091,920.29
                            Total Net Payroll                                                                                    622                                      $1,123,064.34
                            Garnishments 330440021-3404                                                                            6                                          $1,115.28
                            Total Garnishment Impound                                                                              6                                          $1,115.28
                            Tax Liability 330440021-3404                                                                                                                    $493,221.92
                            Total Tax Liability                                                                                                                             $493,221.92
                            Total Tax Impound                                                                                                                               $493,221.92
                            Total Impound                                                                                                                                 $1,617,401.54
                            Onsite Checks 330440021-3404                                                                          13                                         $11,374.42
                            Void Checks 330440021-3404                                                                             2                                        ($2,050.86)
                            Total Adjustments                                                                                     15                                          $9,323.56
                            Cust Resp Taxes 330440021-3404                                                                                                                        $0.00
                            Total                                                                                                                                         $1,626,725.10
                            Impound Date:                                                                                                                                  Mar 16, 2023




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bchf                               Case 22-02384-LT11                      Filed 06/13/23
                                                                               Payroll    Entered
                                                                                       Summary    06/13/23
                                                                                               Report      16:38:01
                                                                                                      (PR002)                                             Doc 744        Pg. 63 of                         Dayforce
                                                                                            75
Pay Date:      3/17/2023                                                                             Borrego Health                                                      Run By:             12997
Pay Period:    2/27/2023 - 3/12/2023                                                                (Committed data only)                                                Commit Date:        3/14/2023 12:57:29 PM
PPN:           06 - 00                                                                                                                                                   Run Type:           Normal
                                                                                                                                                                         Run Number:         309
                                                                                                                                                                         Check # Range:      16868 - 906449159


                                                                                   Borrego Health Totals
                                                                     Borrego Community Health Foundation - 330440021-3404
                                                                                        Bank Totals
                                          Bank Name                                                                                                    Count                Amount
                     City National Bank                               Ceridian Checks 330440021-3404                                                      19                         $31,144.05
                                                                      Ceridian Direct Deposits 330440021-3404                                            603   { 40 $0             $1,091,920.29
                                                                                                                                                                     }
                                                                      Bank Total                                                                         622                       $1,123,064.34
                     Total                                                                                                                               622                       $1,123,064.34

                                                                                                       Census Data
                             Cur On File**                                                             582            Employees Paid                                                  539
                             New Hires**                                                                 4            Employees Not Paid**                                             43
                             Active**                                                                  555            Paid This Month*                                                539
                             Inactive**                                                                 17            Paid On 12th*                                                   539
                             Terminated**                                                                9
                     ** Value computed as of 3/14/2023 12:59:02 PM                                              * Based on the paydate of the payrun




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bchf                                    Case 22-02384-LT11   Filed 06/13/23
                                                                 Payroll    Entered
                                                                         Summary    06/13/23
                                                                                 Report      16:38:01
                                                                                        (PR002)                                            Doc 744       Pg. 64 of                               Dayforce
                                                                              75
Pay Date:         3/31/2023                                                            Borrego Health                                                    Run By:              12997
Pay Period:       3/13/2023 - 3/26/2023                                               (Committed data only)                                              Commit Date:         3/28/2023 12:53:32 PM
PPN:              07 - 00                                                                                                                                Run Type:            Normal
                                                                                                                                                         Run Number:          310
                                                                                                                                                         Check # Range:       16881 - 906552816


                                                                      Borrego Health Totals
                                                        Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                             EE Count: 612; Male: 170; Female: 442
                                                                        Gross To Net
                                      Type             Adjustments                       Current                              Total               MTD              QTD                   YTD
                                                   Hours      Amount            Hours         Amount             Hours            Amount

       Earnings    Administrative Leave                                                                                                               $2,300.00        $2,300.00             $2,300.00
                   Bereavement                                                    16.0000            $737.51       16.0000             $737.51        $1,041.95        $4,159.99             $4,159.99
                   Bonus                                                                                                                                              $46,250.00            $46,250.00
                   Break Premium                                                   7.0000            $146.45        7.0000             $146.45          $701.88        $1,580.62             $1,580.62
                   Cell Allowance                                                                    $130.00                           $130.00        $6,730.00       $18,330.00            $18,330.00
                   Clinic Closure                                                                                                                     $3,670.04        $3,935.40             $3,935.40
                   CME Stipend                                                                                                                        $4,600.00       $10,700.00            $10,700.00
                   CME Training                                                  103.0000         $11,413.83      103.0000          $11,413.83       $31,081.11       $46,483.00            $46,483.00
                   Covid Sick Pay                                                                                                                                     $19,168.92            $19,168.92
                   Department Chair                                                                  $769.23                           $769.23        $2,307.69        $7,692.30             $7,692.30
                   Doubletime                                                      4.3000            $218.86        4.3000             $218.86          $799.47        $1,047.73             $1,047.73
                   Employee Recognition Program                                                       $35.00                            $35.00          $458.07        $3,074.79             $3,074.79
                   Extra Hours                                                   292.6334         $47,154.17      292.6334          $47,154.17     $118,032.77       $214,394.98           $214,394.98
                   Gift Certificate                                              315.5000         $10,312.34      315.5000          $10,312.34       $34,893.16       $74,726.97            $74,726.97
                   Holiday Pay                                                                                                                                       $383,704.94           $383,704.94
                   Holiday Pay Unscheduled                                                                                                                            $53,610.34            $53,610.34
                   Holiday Worked                                                                                                                                     $48,873.23            $48,873.23
                   Interim Assignment                                                                                                                                  $1,730.76             $1,730.76
                   Interim Pay Differential                                                                                                             $333.52        $1,667.60             $1,667.60
                   Jury Duty                                                      32.0000          $1,198.49       32.0000           $1,198.49        $5,227.32       $10,501.73            $10,501.73
                   LOA Vacation                                                                                                                                        $9,542.46             $9,542.46
                   Location Pay Differential                                                                                                                           $3,076.92             $3,076.92
                   Meal Premium                                                  176.9988          $4,077.33      176.9988           $4,077.33       $14,585.87       $33,323.22            $33,323.22
                   Mileage Reimb                                                                   $4,337.39                         $4,337.39       $15,344.80       $31,985.98            $31,985.98
                   On Call                                                                           $900.00                           $900.00        $5,000.00       $10,060.00            $10,060.00
                   On-call Stipend                                                                 $5,000.00                         $5,000.00       $15,000.00       $35,000.00            $35,000.00
                   Overtime                                                      599.5314         $20,817.51      599.5314          $20,817.51       $62,464.97      $141,671.74           $141,671.74
                   Provider Admin Differential                                                                                                                         $1,153.86             $1,153.86
                   Regular                                                     34,555.4822      $1,309,891.88   34,555.4822       $1,309,891.88   $3,998,616.54    $8,897,067.31         $8,897,067.31
                   Regular -retro                                                                                                                                     $15,040.71            $15,040.71
                   Reimbursement                                                                                                                        $259.60           $259.60              $259.60
                   Remote Work Stipend                                                                                                                $5,550.00       $15,220.00            $15,220.00
                   Self Care Day                                                                                                                      $1,343.88        $1,883.88             $1,883.88
                   Sick                                                         1,664.9995        $62,816.64     1,664.9995         $62,816.64     $190,787.32       $437,528.30           $437,528.30
                   Snow Day                                                                                                                           $3,693.64        $3,693.64             $3,693.64
                   Supplemental Pay                                                                                                                   $6,354.78       $23,349.51            $23,349.51
                   Travel Hours                                                   18.0665          $3,328.18       18.0665           $3,328.18        $7,843.33       $16,348.82            $16,348.82
                   Vacation                                                     1,696.5000        $69,399.55     1,696.5000         $69,399.55     $200,336.87       $650,260.25           $650,260.25
                   Vacation Payout                                               368.3200         $26,633.69      368.3200          $26,633.69       $59,372.20      $127,460.97           $127,460.97
                   Total                                               $0.00   39,850.3318      $1,579,318.05   39,850.3318       $1,579,318.05   $4,798,730.78   $11,407,860.47        $11,407,860.47



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bchf                                             Case 22-02384-LT11    Filed 06/13/23
                                                                           Payroll    Entered
                                                                                   Summary    06/13/23
                                                                                           Report      16:38:01
                                                                                                  (PR002)                                  Doc 744       Pg. 65 of                               Dayforce
                                                                                        75
Pay Date:                  3/31/2023                                                         Borrego Health                                              Run By:              12997
Pay Period:                3/13/2023 - 3/26/2023                                            (Committed data only)                                        Commit Date:         3/28/2023 12:53:32 PM
PPN:                       07 - 00                                                                                                                       Run Type:            Normal
                                                                                                                                                         Run Number:          310
                                                                                                                                                         Check # Range:       16881 - 906552816


                                                                                Borrego Health Totals
                                                                  Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                             EE Count: 612; Male: 170; Female: 442
                                                                                  Gross To Net
                                               Type              Adjustments                     Current                      Total               MTD              QTD                   YTD
                                                             Hours      Amount           Hours        Amount          Hours       Amount

   Pre-Tax Deductions       125 AFL                                                                                                                   ($136.72)
                            125 Den HMO                                                                                                               $2,789.04        $8,217.90             $8,217.90
                            125 DEN PPO                                                                                                              $14,157.27       $42,117.35            $42,117.35
                            125 Med                                                                       ($400.00)                   ($400.00)      $38,694.46      $114,669.46           $114,669.46
                            401K Catch up Pretax                                                           $906.96                     $906.96        $2,821.13       $11,797.27            $11,797.27
                            401K Elective Pre Tax                                                        $47,020.56                  $47,020.56    $146,406.67       $367,250.75           $367,250.75
                            Col Group Accident                                                                                                                             $11.25               $11.25
                            Col Group Med-Bridge                                                                                                                           $24.75               $24.75
                            Total                                                $0.00                   $47,527.52                  $47,527.52    $204,731.85       $544,088.73           $544,088.73


          Taxes             0001 Fed W/H                                                                $180,643.03                 $180,643.03    $533,866.99     $1,287,531.95         $1,287,531.95
                            0003 FICA EE                                                                 $97,673.57                  $97,673.57    $293,254.75       $695,470.29           $695,470.29
                            0023 Fed MWT EE                                                              $22,843.04                  $22,843.04      $68,583.69      $162,650.33           $162,650.33
                            0501 CA W/H                                                                  $70,362.98                  $70,362.98    $206,124.56       $495,342.16           $495,342.16
                            0505 CA DT EE                                                                $13,981.58                  $13,981.58      $42,003.65       $99,675.35            $99,675.35
                            3601 OH W/H                                                                     $64.81                      $64.81          $196.14           $490.31              $490.31
                            36FP OkwdVillW/H-C                                                              $59.99                      $59.99          $181.20           $446.09              $446.09
                            Total                                                $0.00                  $385,629.00                 $385,629.00   $1,144,210.98    $2,741,606.48         $2,741,606.48


  Garnishments (Multiple    Creditor Garnishment                                                           $124.90                     $124.90          $254.88           $663.31              $663.31
         Items)
                            Current Support                                                                $851.06                     $851.06        $2,475.65        $5,647.30             $5,647.30
                            State Tax Levy                                                                 $262.50                     $262.50          $805.37        $1,921.61             $1,921.61
                            Total                                                $0.00                    $1,238.46                   $1,238.46       $3,535.90        $8,232.22             $8,232.22


   Post-Tax Deductions      401K Loan Re-Pmt                                                               $586.02                     $586.02        $1,776.88        $4,308.60             $4,308.60
                            Air Med                                                                        $988.00                     $988.00          $988.00        $1,088.00             $1,088.00
                            Col Group - CI                                                                                                                                 $15.35               $15.35
                            Col Group - STD                                                                                                            ($67.80)            $90.40               $90.40
                            Critical Illness                                                                                                          $2,126.76        $6,035.67             $6,035.67
                            Domestic Partner                                                                                                          $2,200.00        $5,900.00             $5,900.00
                            Employee Recognition Deduction                                                  $35.00                      $35.00          $458.07        $3,067.51             $3,067.51
                            Group Accident                                                                                                            $1,339.35        $4,002.67             $4,002.67
                            Medical Bridge                                                                                                            $1,728.75        $5,192.35             $5,192.35
                            MetLife Legal                                                                                                               $375.44        $1,165.84             $1,165.84
                            MetLife Pet Insurance                                                                                                                          $10.00               $10.00
                            Post VTL1                                                                                                                 $4,727.63       $14,448.15            $14,448.15
                            Post VTL2                                                                                                                   $558.25        $1,683.68             $1,683.68
                            Roth 401K Election-Post Tax                                                   $3,801.37                   $3,801.37      $12,229.73       $28,771.66            $28,771.66
                            Whole Life                                                                                                                $4,564.84       $13,585.82            $13,585.82
                            Total                                                $0.00                    $5,410.39                   $5,410.39      $33,005.90       $89,365.70            $89,365.70


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bchf                                                Case 22-02384-LT11                  Filed 06/13/23
                                                                                            Payroll    Entered
                                                                                                    Summary    06/13/23
                                                                                                            Report      16:38:01
                                                                                                                   (PR002)                                               Doc 744      Pg. 66 of                                    Dayforce
                                                                                                         75
Pay Date:                    3/31/2023                                                                          Borrego Health                                                         Run By:                 12997
Pay Period:                  3/13/2023 - 3/26/2023                                                             (Committed data only)                                                   Commit Date:            3/28/2023 12:53:32 PM
PPN:                         07 - 00                                                                                                                                                   Run Type:               Normal
                                                                                                                                                                                       Run Number:             310
                                                                                                                                                                                       Check # Range:          16881 - 906552816


                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                              EE Count: 612; Male: 170; Female: 442
                                                                                                    Gross To Net
                                                  Type                           Adjustments                      Current                                  Total                MTD                  QTD                    YTD
                                                                             Hours      Amount            Hours        Amount                 Hours            Amount

            Net Pay                                                                                                                                            $1,139,512.68    $3,413,246.15        $8,024,567.34          $8,024,567.34


        Memo Earnings          ER EAP                                                                                                                                               $1,048.11            $3,160.14             $3,160.14
                               ER Ins Medical                                                                                                                                      $79,400.00          $241,300.00           $241,300.00
                               ER Life                                                                                                                                              $1,679.27            $5,090.05             $5,090.05
                               ER Vision                                                                                                                                            $3,181.24            $9,596.51             $9,596.51
                               LOA Unpaid                                                                   56.0000                              56.0000
                               MED Dom Partner IC                                                                                                                                   $2,293.44            $6,689.20             $6,689.20
                               Unpaid Time                                                                  32.0000                              32.0000
                               Total                                                              $0.00     88.0000               $0.00          88.0000                $0.00      $87,602.06          $265,835.90           $265,835.90


        Memo Deductions        Workers Comp ER                                                                                $18,852.81                         $18,852.81        $57,043.89          $135,136.14           $135,136.14
                               Total                                                              $0.00                       $18,852.81                         $18,852.81        $57,043.89          $135,136.14           $135,136.14

* italicized amounts are not factored into net and impound totals

                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                              EE Count: 612; Male: 170; Female: 442
                                                                                                 Tax Expense Summary
                 Type                         Rate                      Current                                       MTD                                               QTD                                        YTD
                                                          Ltd Taxable Wage             Tax             Ltd Taxable Wage              Tax                 Ltd Taxable Wage          Tax              Ltd Taxable Wage                 Tax
0002 FICA ER                                      6.2%              $1,575,380.66        $97,673.57           $4,729,915.77                $293,254.75         $11,217,263.38         $695,470.29          $11,217,263.38               $695,470.29
0022 Fed MWT ER                                  1.45%              $1,575,380.66        $22,843.04           $4,729,915.77                 $68,583.69         $11,217,263.38         $162,650.33          $11,217,263.38               $162,650.33
0004 Fed UT ER                                                        $58,649.78                                $378,185.21                                     $3,930,108.16                               $3,930,108.16
0504 CA UT ER                                                         $56,927.42                                $374,948.42                                     $3,898,871.37                               $3,898,871.37
0508 CA DRT                                                           $56,927.42                                $374,948.42                                     $3,898,871.37                               $3,898,871.37
1004 FL UT ER                                                                                                                                                       $7,000.00             $189.00               $7,000.00                   $189.00
1008 FL DRT                                                                                                                                                         $7,000.00                                   $7,000.00
3604 OH UT ER                                                                                                                                                       $9,000.00             $243.00               $9,000.00                   $243.00
3607 OH DRT                                                                                                                                                         $7,000.00                                   $7,000.00
OH WCT ER                                                              $2,399.75                                  $7,247.75                                       $17,842.75                                   $17,842.75
4404 TN UT ER                                                                                                                                                       $7,000.00             $189.00               $7,000.00                   $189.00
TN DRT                                                                                                                                                              $7,000.00                                   $7,000.00
4504 TX UT ER                                     2.7%                 $3,110.05              $83.97              $4,624.48                   $124.86             $13,624.48              $367.86              $13,624.48                   $367.86
TX DRT                                                                 $1,722.36                                  $3,236.79                                       $10,236.79                                   $10,236.79
Total                                                                                   $120,600.58                                        $361,963.30                                $859,109.48                                       $859,109.48




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bchf                                    Case 22-02384-LT11                  Filed 06/13/23
                                                                                Payroll    Entered
                                                                                        Summary    06/13/23
                                                                                                Report      16:38:01
                                                                                                       (PR002)                                            Doc 744            Pg. 67 of                                   Dayforce
                                                                                             75
Pay Date:               3/31/2023                                                                   Borrego Health                                                           Run By:                  12997
Pay Period:             3/13/2023 - 3/26/2023                                                     (Committed data only)                                                      Commit Date:             3/28/2023 12:53:32 PM
PPN:                    07 - 00                                                                                                                                              Run Type:                Normal
                                                                                                                                                                             Run Number:              310
                                                                                                                                                                             Check # Range:           16881 - 906552816


                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                     EE Count: 612; Male: 170; Female: 442
                                                                                Wages and Tax Liabilities
                                ID                   Type          Rate                         Current                                              QTD                                                  YTD
                                                                            Tot Taxable       Ltd Taxable         Tax          Tot Taxable       Ltd Taxable         Tax           Tot Taxable       Ltd Taxable           Tax
                                                                               Wage              Wage                             Wage              Wage                              Wage              Wage

   Federal Deposit   330440021         0001 Fed W/H                           $1,527,453.14     $1,527,453.14    $180,643.03    $10,838,215.36    $10,838,215.36   $1,287,531.95    $10,838,215.36    $10,838,215.36    $1,287,531.95
                     330440021         0003 FICA EE                  6.2%     $1,575,380.66     $1,575,380.66     $97,673.57    $11,217,263.38    $11,217,263.38    $695,470.29     $11,217,263.38    $11,217,263.38      $695,470.29
                     330440021         0002 FICA ER                  6.2%     $1,575,380.66     $1,575,380.66     $97,673.57    $11,217,263.38    $11,217,263.38    $695,470.29     $11,217,263.38    $11,217,263.38      $695,470.29
                     330440021         0023 Fed MWT EE              1.45%     $1,575,380.66     $1,575,380.66     $22,843.04    $11,217,263.38    $11,217,263.38    $162,650.33     $11,217,263.38    $11,217,263.38      $162,650.33
                     330440021         0022 Fed MWT ER              1.45%     $1,575,380.66     $1,575,380.66     $22,843.04    $11,217,263.38    $11,217,263.38    $162,650.33     $11,217,263.38    $11,217,263.38      $162,650.33
                     330440021         0004 Fed UT ER                         $1,575,380.66       $58,649.78                    $11,210,574.18     $3,930,108.16                    $11,210,574.18     $3,930,108.16
                     Total                                                                                       $421,676.25                                       $3,003,773.19                                        $3,003,773.19


  State Witholding   910-4765-4        0501 CA W/H                            $1,505,826.91     $1,505,826.91     $70,362.98    $10,704,338.02    $10,704,338.02    $495,342.16     $10,704,338.02    $10,704,338.02      $495,342.16
                     910-4765-4        0504 CA UT ER                          $1,553,515.35       $56,927.42                    $11,075,040.26     $3,898,871.37                    $11,075,040.26     $3,898,871.37
                     Applied For       0508 CA DRT                              $56,927.42        $56,927.42                     $3,898,871.37     $3,898,871.37                     $3,898,871.37     $3,898,871.37
                     910-4765-4        0505 CA DT EE                          $1,553,515.35     $1,553,515.35     $13,981.58    $11,075,040.26    $11,075,040.26     $99,675.35     $11,075,040.26    $11,075,040.26       $99,675.35
                     3849378           1004 FL UT ER                            $10,192.31                                          $71,591.21         $7,000.00        $189.00        $71,591.21          $7,000.00             $189.00
                     Applied For       1008 FL DRT                                                                                   $7,000.00         $7,000.00                         $7,000.00         $7,000.00
                     54198296          3601 OH W/H                               $2,399.75         $2,399.75         $64.81         $17,842.75       $17,842.75         $490.31        $17,842.75        $17,842.75              $490.31
                     2000019090        3604 OH UT ER                             $2,399.75                                          $17,842.75         $9,000.00        $243.00        $17,842.75          $9,000.00             $243.00
                     Applied For       3607 OH DRT                                                                                   $7,000.00         $7,000.00                         $7,000.00         $7,000.00
                     Applied For       OH WCT ER                                 $2,399.75         $2,399.75                        $17,842.75       $17,842.75                        $17,842.75        $17,842.75
                     Applied For       4404 TN UT ER                             $3,763.20                                          $26,642.40         $7,000.00        $189.00        $26,642.40          $7,000.00             $189.00
                     Applied For       TN DRT                                                                                        $7,000.00         $7,000.00                         $7,000.00         $7,000.00
                     Applied For       4504 TX UT ER                 2.7%        $5,510.05         $3,110.05         $83.97         $21,184.48       $13,624.48         $367.86        $21,184.48        $13,624.48              $367.86
                     Applied For       TX DRT                                    $1,722.36         $1,722.36                        $10,236.79       $10,236.79                        $10,236.79        $10,236.79
                     Total                                                                                        $84,493.34                                        $596,496.68                                           $596,496.68


    Other Taxes      Applied For       36FP OkwdVillW/H-C                        $2,399.75         $2,399.75         $59.99         $17,842.75       $17,842.75         $446.09        $17,842.75        $17,842.75              $446.09
                     Total                                                                                           $59.99                                             $446.09                                                  $446.09
    Total Taxes                                                                                                  $506,229.58                                       $3,600,715.96                                        $3,600,715.96

                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                 Tax Service Liabilities
               Tax                   Amount                   ID                      Tax                       Amount                     ID                        Tax                         Amount                      ID
0001 Fed W/H                             $180,643.03 330440021        0501 CA W/H                                   $70,362.98 910-4765-4               36FP OkwdVillW/H-C                                  $59.99 Applied For
0003 FICA EE                              $97,673.57 330440021        0504 CA UT ER                                       $0.00 910-4765-4
0002 FICA ER                              $97,673.57 330440021        0508 CA DRT                                         $0.00 Applied For
0023 Fed MWT EE                           $22,843.04 330440021        0505 CA DT EE                                 $13,981.58 910-4765-4
0022 Fed MWT ER                           $22,843.04 330440021        1004 FL UT ER                                       $0.00 3849378
0004 Fed UT ER                                  $0.00 330440021       1008 FL DRT                                         $0.00 Applied For
                                                                      3601 OH W/H                                        $64.81 54198296


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bchf                                    Case 22-02384-LT11                 Filed 06/13/23
                                                                               Payroll    Entered
                                                                                       Summary    06/13/23
                                                                                               Report      16:38:01
                                                                                                      (PR002)                           Doc 744     Pg. 68 of                               Dayforce
                                                                                            75
Pay Date:             3/31/2023                                                                Borrego Health                                       Run By:             12997
Pay Period:           3/13/2023 - 3/26/2023                                                   (Committed data only)                                 Commit Date:        3/28/2023 12:53:32 PM
PPN:                  07 - 00                                                                                                                       Run Type:           Normal
                                                                                                                                                    Run Number:         310
                                                                                                                                                    Check # Range:      16881 - 906552816


                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                    Tax Service Liabilities
                Tax                  Amount                      ID                     Tax              Amount                    ID         Tax                    Amount                    ID
                                                                        3604 OH UT ER                              $0.00 2000019090
                                                                        3607 OH DRT                                $0.00 Applied For
                                                                        4404 TN UT ER                              $0.00 Applied For
                                                                        4504 TX UT ER                             $83.97 Applied For
Total                                     $421,676.25                                                        $84,493.34                                                       $59.99
Total Tax Liability                                                                                                                                                      $506,229.58
Total Tax Impound                                                                                                                                                        $506,229.58

                                                                                      Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                Client Responsible Tax Liabilities
                Tax                  Amount                      ID                     Tax              Amount                    ID         Tax                    Amount                    ID
                                                                        OH WCT ER                                  $0.00 Applied For
                                                                        TN DRT                                     $0.00 Applied For
                                                                        TX DRT                                     $0.00 Applied For
Total                                             $0.00                                                            $0.00                                                       $0.00
Total Taxes                                                                                                                                                                    $0.00

                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                  Net Payroll and Impounds
                                                                                                                             Count                Amount
                            Ceridian Checks 330440021-3404                                                                        11                             $16,588.23
                            Ceridian Direct Deposits 330440021-3404                                                              562                          $1,093,666.87
                            Total Net Payroll                                                                                    573                          $1,110,255.10
                            Garnishments 330440021-3404                                                                            7                              $1,238.46
                            Total Garnishment Impound                                                                              7                              $1,238.46
                            Tax Liability 330440021-3404                                                                                                        $506,229.58
                            Total Tax Liability                                                                                                                 $506,229.58
                            Total Tax Impound                                                                                                                   $506,229.58
                            Total Impound                                                                                                                     $1,617,723.14
                            Onsite Checks 330440021-3404                                                                          11                             $29,909.76
                            Void Checks 330440021-3404                                                                             1                              ($652.18)
                            Total Adjustments                                                                                     12                             $29,257.58
                            Cust Resp Taxes 330440021-3404                                                                                                            $0.00
                            Total                                                                                                                             $1,646,980.72
                            Impound Date:                                                                                                                      Mar 30, 2023




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bchf                               Case 22-02384-LT11                      Filed 06/13/23
                                                                               Payroll    Entered
                                                                                       Summary    06/13/23
                                                                                               Report      16:38:01
                                                                                                      (PR002)                                             Doc 744   Pg. 69 of                          Dayforce
                                                                                            75
Pay Date:      3/31/2023                                                                             Borrego Health                                                 Run By:              12997
Pay Period:    3/13/2023 - 3/26/2023                                                                (Committed data only)                                           Commit Date:         3/28/2023 12:53:32 PM
PPN:           07 - 00                                                                                                                                              Run Type:            Normal
                                                                                                                                                                    Run Number:          310
                                                                                                                                                                    Check # Range:       16881 - 906552816


                                                                                   Borrego Health Totals
                                                                     Borrego Community Health Foundation - 330440021-3404
                                                                                        Bank Totals
                                          Bank Name                                                                                                    Count           Amount
                     City National Bank                               Ceridian Checks 330440021-3404                                                      11                    $16,588.23
                                                                      Ceridian Direct Deposits 330440021-3404                                            562                  $1,093,666.87
                                                                      Bank Total                                                                         573                  $1,110,255.10
                     Total                                                                                                                               573                  $1,110,255.10

                                                                                                       Census Data
                             Cur On File**                                                             572            Employees Paid                                             532
                             New Hires**                                                                 4            Employees Not Paid**                                        40
                             Active**                                                                  542            Paid This Month*                                           532
                             Inactive**                                                                 19            Paid On 12th*                                                  0
                             Terminated**                                                                9
                     ** Value computed as of 3/28/2023 12:58:19 PM                                              * Based on the paydate of the payrun




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bchf                                    Case 22-02384-LT11   Filed 06/13/23
                                                                 Payroll    Entered
                                                                         Summary    06/13/23
                                                                                 Report      16:38:01
                                                                                        (PR002)                                            Doc 744       Pg. 70 of                               Dayforce
                                                                              75
Pay Date:         4/14/2023                                                            Borrego Health                                                    Run By:              12997
Pay Period:       3/27/2023 - 4/9/2023                                                (Committed data only)                                              Commit Date:         4/11/2023 1:00:25 PM
PPN:              08 - 00                                                                                                                                Run Type:            Normal
                                                                                                                                                         Run Number:          311
                                                                                                                                                         Check # Range:       16292 - 906653469


                                                                      Borrego Health Totals
                                                        Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                             EE Count: 614; Male: 171; Female: 443
                                                                        Gross To Net
                                      Type             Adjustments                       Current                              Total               MTD              QTD                   YTD
                                                   Hours      Amount            Hours         Amount             Hours            Amount

       Earnings    Administrative Leave                                                                                                                                                      $2,300.00
                   Bereavement                                                    72.0000          $1,331.76       72.0000            $1,331.76       $1,331.76        $1,331.76             $5,491.75
                   Bonus                                                                         $354,536.00                        $354,536.00    $354,536.00       $354,536.00           $400,786.00
                   Break Premium                                                   3.9998            $110.51        3.9998             $110.51          $110.51           $110.51            $1,691.13
                   Cell Allowance                                                                  $5,670.00                          $5,670.00       $5,670.00        $5,670.00            $24,000.00
                   Clinic Closure                                                                                                                                                            $3,935.40
                   CME Stipend                                                                     $1,500.00                          $1,500.00       $1,500.00        $1,500.00            $12,200.00
                   CME Training                                                   64.0000          $5,990.93       64.0000            $5,990.93       $5,990.93        $5,990.93            $52,473.93
                   Covid Sick Pay                                                                                                                                                           $19,168.92
                   Department Chair                                                                $1,538.46                          $1,538.46       $1,538.46        $1,538.46             $9,230.76
                   Doubletime                                                      1.8001             $83.19        1.8001              $83.19           $83.19            $83.19            $1,130.92
                   Employee Recognition Program                                                                                                                                              $3,074.79
                   Extra Hours                                                   166.7000         $27,187.08      166.7000           $27,187.08      $27,187.08       $27,187.08           $241,582.06
                   Gift Certificate                                              241.5835         $10,056.14      241.5835           $10,056.14      $10,056.14       $10,056.14            $84,783.11
                   Holiday Pay                                                                                                                                                             $383,704.94
                   Holiday Pay Unscheduled                                                                                                                                                  $53,610.34
                   Holiday Worked                                                                                                                                                           $48,873.23
                   Interim Assignment                                                                                                                                                        $1,730.76
                   Interim Pay Differential                                                                                                                                                  $1,667.60
                   Jury Duty                                                      32.0000            $635.02       32.0000             $635.02          $635.02           $635.02           $11,136.75
                   LOA Vacation                                                                                                                                                              $9,542.46
                   Location Pay Differential                                                                                                                                                 $3,076.92
                   Meal Premium                                                  231.9980          $5,562.70      231.9980            $5,562.70       $5,562.70        $5,562.70            $38,885.92
                   Mileage Reimb                                                                  $11,290.95                         $11,290.95      $11,290.95       $11,290.95            $43,276.93
                   On Call                                                                         $3,300.00                          $3,300.00       $3,300.00        $3,300.00            $13,810.00
                   On-call Stipend                                                                 $4,350.00                          $4,350.00       $4,350.00        $4,350.00            $36,850.00
                   Overtime                                                      689.1820         $23,672.79      689.1820           $23,672.79      $23,672.79       $23,672.79           $165,344.53
                   Provider Admin Differential                                                                                                                                               $1,153.86
                   Regular                                                     34,394.3142      $1,303,852.47   34,394.3142       $1,303,852.47   $1,303,852.47    $1,303,852.47        $10,200,919.78
                   Regular -retro                                                                                                                                                           $15,040.71
                   Reimbursement                                                                                                                                                               $259.60
                   Remote Work Stipend                                                             $4,600.00                          $4,600.00       $4,600.00        $4,600.00            $19,820.00
                   Self Care Day                                                                                                                                                             $1,883.88
                   Sick                                                         1,614.6822        $61,997.80     1,614.6822          $61,997.80      $61,997.80       $61,997.80           $499,526.10
                   Snow Day                                                       34.8665            $745.30       34.8665             $745.30          $745.30           $745.30            $4,438.94
                   Supplemental Pay                                                                $6,145.44                          $6,145.44       $6,145.44        $6,145.44            $29,494.95
                   Travel Hours                                                   24.2000          $3,475.82       24.2000            $3,475.82       $3,475.82        $3,475.82            $19,824.64
                   Vacation                                                     1,462.1485        $59,654.87     1,462.1485          $59,654.87      $59,654.87       $59,654.87           $709,915.12
                   Vacation Payout                                                42.9600          $1,944.37       42.9600            $1,944.37       $1,944.37        $1,944.37           $129,405.34
                   Total                                               $0.00   39,076.4348      $1,899,231.60   39,076.4348       $1,899,231.60   $1,899,231.60    $1,899,231.60        $13,305,042.07



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bchf                                             Case 22-02384-LT11    Filed 06/13/23
                                                                           Payroll    Entered
                                                                                   Summary    06/13/23
                                                                                           Report      16:38:01
                                                                                                  (PR002)                                  Doc 744       Pg. 71 of                               Dayforce
                                                                                        75
Pay Date:                  4/14/2023                                                         Borrego Health                                              Run By:              12997
Pay Period:                3/27/2023 - 4/9/2023                                             (Committed data only)                                        Commit Date:         4/11/2023 1:00:25 PM
PPN:                       08 - 00                                                                                                                       Run Type:            Normal
                                                                                                                                                         Run Number:          311
                                                                                                                                                         Check # Range:       16292 - 906653469


                                                                                Borrego Health Totals
                                                                  Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                             EE Count: 614; Male: 171; Female: 443
                                                                                  Gross To Net
                                               Type              Adjustments                     Current                      Total               MTD              QTD                   YTD
                                                             Hours      Amount           Hours        Amount          Hours       Amount

   Pre-Tax Deductions       125 Den HMO                                                                   $1,365.70                   $1,365.70       $1,365.70        $1,365.70             $9,583.60
                            125 DEN PPO                                                                   $6,970.90                   $6,970.90       $6,970.90        $6,970.90            $49,088.25
                            125 Med                                                                      $18,956.02                  $18,956.02      $18,956.02       $18,956.02           $133,625.48
                            401K Catch up Pretax                                                          $1,312.79                   $1,312.79       $1,312.79        $1,312.79            $13,110.06
                            401K Elective Pre Tax                                                        $61,544.09                  $61,544.09      $61,544.09       $61,544.09           $428,692.34
                            Col Group Accident                                                                                                                                                  $11.25
                            Col Group Med-Bridge                                                                                                                                                $24.75
                            Total                                                $0.00                   $90,149.50                  $90,149.50      $90,149.50       $90,149.50           $634,135.73


          Taxes             0001 Fed W/H                                                                $233,071.53                 $233,071.53    $233,071.53       $233,071.53         $1,520,474.86
                            0003 FICA EE                                                                $115,431.49                 $115,431.49    $115,431.49       $115,431.49           $810,774.68
                            0023 Fed MWT EE                                                              $26,995.87                  $26,995.87      $26,995.87       $26,995.87           $189,616.47
                            0501 CA W/H                                                                  $97,860.27                  $97,860.27      $97,860.27       $97,860.27           $593,188.78
                            0505 CA DT EE                                                                $16,542.85                  $16,542.85      $16,542.85       $16,542.85           $116,199.75
                            3601 OH W/H                                                                     $64.49                      $64.49           $64.49            $64.49              $554.80
                            36FP OkwdVillW/H-C                                                              $59.76                      $59.76           $59.76            $59.76              $505.85
                            Total                                                $0.00                  $490,026.26                 $490,026.26    $490,026.26       $490,026.26         $3,231,315.19


  Garnishments (Multiple    Creditor Garnishment                                                           $229.05                     $229.05          $229.05           $229.05              $892.36
         Items)
                            Current Support                                                                $851.06                     $851.06          $851.06           $851.06            $6,498.36
                            State Tax Levy                                                                 $529.19                     $529.19          $529.19           $529.19            $2,450.80
                            Total                                                $0.00                    $1,609.30                   $1,609.30       $1,609.30        $1,609.30             $9,841.52


   Post-Tax Deductions      401K Loan Re-Pmt                                                               $586.02                     $586.02          $586.02           $586.02            $4,894.62
                            Air Med                                                                                                                                                          $1,088.00
                            Col Group - CI                                                                                                                                                      $15.35
                            Col Group - STD                                                                                                                                                     $90.40
                            Critical Illness                                                              $1,132.01                   $1,132.01       $1,132.01        $1,132.01             $7,167.68
                            Domestic Partner                                                              $1,025.00                   $1,025.00       $1,025.00        $1,025.00             $6,925.00
                            Employee Recognition Deduction                                                                                                                                   $3,067.51
                            Group Accident                                                                 $679.90                     $679.90          $679.90           $679.90            $4,682.57
                            Medical Bridge                                                                 $856.05                     $856.05          $856.05           $856.05            $6,048.40
                            MetLife Legal                                                                  $177.84                     $177.84          $177.84           $177.84            $1,343.68
                            MetLife Pet Insurance                                                                                                                                               $10.00
                            Post VTL1                                                                     $2,298.29                   $2,298.29       $2,298.29        $2,298.29            $16,746.44
                            Post VTL2                                                                      $265.02                     $265.02          $265.02           $265.02            $1,948.70
                            Roth 401K Election-Post Tax                                                   $4,530.65                   $4,530.65       $4,530.65        $4,530.65            $33,261.31
                            Whole Life                                                                    $2,380.84                   $2,380.84       $2,380.84        $2,380.84            $15,966.66
                            Total                                                $0.00                   $13,931.62                  $13,931.62      $13,931.62       $13,931.62           $103,256.32



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bchf                                                Case 22-02384-LT11                  Filed 06/13/23
                                                                                            Payroll    Entered
                                                                                                    Summary    06/13/23
                                                                                                            Report      16:38:01
                                                                                                                   (PR002)                                                Doc 744        Pg. 72 of                                   Dayforce
                                                                                                         75
Pay Date:                    4/14/2023                                                                          Borrego Health                                                           Run By:                 12997
Pay Period:                  3/27/2023 - 4/9/2023                                                              (Committed data only)                                                     Commit Date:            4/11/2023 1:00:25 PM
PPN:                         08 - 00                                                                                                                                                     Run Type:               Normal
                                                                                                                                                                                         Run Number:             311
                                                                                                                                                                                         Check # Range:          16292 - 906653469


                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                                EE Count: 614; Male: 171; Female: 443
                                                                                                    Gross To Net
                                                  Type                           Adjustments                       Current                                   Total                MTD                  QTD                    YTD
                                                                             Hours      Amount            Hours         Amount                  Hours            Amount

            Net Pay                                                                                                                                              $1,303,514.92    $1,303,514.92        $1,303,514.92          $9,326,493.31


        Memo Earnings          ER EAP                                                                                             $516.15                             $516.15           $516.15              $516.15             $3,676.29
                               ER Ins Medical                                                                                   $38,800.00                         $38,800.00       $38,800.00           $38,800.00            $280,100.00
                               ER Life                                                                                            $825.33                             $825.33           $825.33              $825.33             $5,915.38
                               ER Vision                                                                                         $1,538.16                          $1,538.16        $1,538.16            $1,538.16             $11,134.67
                               LOA Unpaid                                                                   24.0000                                24.0000
                               MED Dom Partner IC                                                                                $1,146.72                          $1,146.72        $1,146.72            $1,146.72              $7,835.92
                               Unpaid Time                                                                  72.8170               $744.00          72.8170            $744.00           $744.00              $744.00                $744.00
                               Total                                                              $0.00     96.8170             $43,570.36         96.8170         $43,570.36       $43,570.36           $43,570.36            $309,406.26


        Memo Deductions        Workers Comp ER                                                                                  $22,495.77                         $22,495.77       $22,495.77           $22,495.77            $157,631.91
                               Total                                                              $0.00                         $22,495.77                         $22,495.77       $22,495.77           $22,495.77            $157,631.91

* italicized amounts are not factored into net and impound totals

                                                                                                  Borrego Health Totals
                                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                                EE Count: 614; Male: 171; Female: 443
                                                                                                 Tax Expense Summary
                 Type                         Rate                      Current                                       MTD                                                 QTD                                        YTD
                                                          Ltd Taxable Wage             Tax             Ltd Taxable Wage                Tax                 Ltd Taxable Wage          Tax              Ltd Taxable Wage                 Tax
0002 FICA ER                                      6.2%              $1,861,794.75       $115,431.49           $1,861,794.75                  $115,431.49          $1,861,794.75         $115,431.49          $13,077,008.13               $810,774.68
0022 Fed MWT ER                                  1.45%              $1,861,794.75        $26,995.87           $1,861,794.75                   $26,995.87          $1,861,794.75          $26,995.87          $13,077,008.13               $189,616.47
0004 Fed UT ER                                                        $39,664.27                                  $39,664.27                                        $39,664.27                                $3,969,772.43
0504 CA UT ER                                                         $39,372.38                                  $39,372.38                                        $39,372.38                                $3,938,243.75
0508 CA DRT                                                           $39,372.38                                  $39,372.38                                        $39,372.38                                $3,938,243.75
1004 FL UT ER                                                                                                                                                                                                     $7,000.00                   $189.00
1008 FL DRT                                                                                                                                                                                                       $7,000.00
3604 OH UT ER                                                                                                                                                                                                     $9,000.00                   $243.00
3607 OH DRT                                                                                                                                                                                                       $7,000.00
OH WCT ER                                                              $2,390.50                                   $2,390.50                                          $2,390.50                                  $20,233.25
4404 TN UT ER                                                                                                                                                                                                     $7,000.00                   $189.00
TN DRT                                                                                                                                                                                                            $7,000.00
4504 TX UT ER                                     2.7%                   $904.20              $24.41                  $904.20                    $24.41                $904.20               $24.41              $14,528.68                   $392.27
TX DRT                                                                   $291.89                                      $291.89                                          $291.89                                   $10,528.68
Total                                                                                   $142,451.77                                          $142,451.77                                $142,451.77                                      $1,001,404.42




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bchf                                    Case 22-02384-LT11                  Filed 06/13/23
                                                                                Payroll    Entered
                                                                                        Summary    06/13/23
                                                                                                Report      16:38:01
                                                                                                       (PR002)                                            Doc 744            Pg. 73 of                                  Dayforce
                                                                                             75
Pay Date:               4/14/2023                                                                   Borrego Health                                                           Run By:                 12997
Pay Period:             3/27/2023 - 4/9/2023                                                      (Committed data only)                                                      Commit Date:            4/11/2023 1:00:25 PM
PPN:                    08 - 00                                                                                                                                              Run Type:               Normal
                                                                                                                                                                             Run Number:             311
                                                                                                                                                                             Check # Range:          16292 - 906653469


                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                                                                                                                                    EE Count: 614; Male: 171; Female: 443
                                                                                Wages and Tax Liabilities
                                ID                   Type          Rate                         Current                                              QTD                                                 YTD
                                                                            Tot Taxable       Ltd Taxable         Tax          Tot Taxable       Ltd Taxable         Tax          Tot Taxable       Ltd Taxable           Tax
                                                                               Wage              Wage                             Wage              Wage                             Wage              Wage

   Federal Deposit   330440021         0001 Fed W/H                           $1,798,937.87     $1,798,937.87    $233,071.53     $1,798,937.87     $1,798,937.87    $233,071.53    $12,635,205.73    $12,635,205.73    $1,520,474.86
                     330440021         0003 FICA EE                  6.2%     $1,861,794.75     $1,861,794.75    $115,431.49     $1,861,794.75     $1,861,794.75    $115,431.49    $13,077,008.13    $13,077,008.13      $810,774.68
                     330440021         0002 FICA ER                  6.2%     $1,861,794.75     $1,861,794.75    $115,431.49     $1,861,794.75     $1,861,794.75    $115,431.49    $13,077,008.13    $13,077,008.13      $810,774.68
                     330440021         0023 Fed MWT EE              1.45%     $1,861,794.75     $1,861,794.75     $26,995.87     $1,861,794.75     $1,861,794.75     $26,995.87    $13,077,008.13    $13,077,008.13      $189,616.47
                     330440021         0022 Fed MWT ER              1.45%     $1,861,794.75     $1,861,794.75     $26,995.87     $1,861,794.75     $1,861,794.75     $26,995.87    $13,077,008.13    $13,077,008.13      $189,616.47
                     330440021         0004 Fed UT ER                         $1,860,648.03       $39,664.27                     $1,860,648.03       $39,664.27                    $13,069,172.21     $3,969,772.43
                     Total                                                                                       $517,926.25                                        $517,926.25                                        $3,521,257.16


  State Witholding   910-4765-4        0501 CA W/H                            $1,776,708.79     $1,776,708.79     $97,860.27     $1,776,708.79     $1,776,708.79     $97,860.27    $12,479,099.31    $12,479,099.31      $593,188.78
                     910-4765-4        0504 CA UT ER                          $1,838,080.57       $39,372.38                     $1,838,080.57       $39,372.38                    $12,911,070.83     $3,938,243.75
                     Applied For       0508 CA DRT                              $39,372.38        $39,372.38                        $39,372.38       $39,372.38                     $3,938,243.75     $3,938,243.75
                     910-4765-4        0505 CA DT EE                          $1,838,080.57     $1,838,080.57     $16,542.85     $1,838,080.57     $1,838,080.57     $16,542.85    $12,911,070.83    $12,911,070.83      $116,199.75
                     3849378           1004 FL UT ER                            $10,293.15                                          $10,293.15                                        $81,884.36          $7,000.00             $189.00
                     Applied For       1008 FL DRT                                                                                                                                      $7,000.00         $7,000.00
                     54198296          3601 OH W/H                               $2,390.50         $2,390.50         $64.49          $2,390.50        $2,390.50          $64.49       $20,233.25        $20,233.25              $554.80
                     2000019090        3604 OH UT ER                             $2,390.50                                           $2,390.50                                        $20,233.25          $9,000.00             $243.00
                     Applied For       3607 OH DRT                                                                                                                                      $7,000.00         $7,000.00
                     Applied For       OH WCT ER                                 $2,390.50         $2,390.50                         $2,390.50        $2,390.50                       $20,233.25        $20,233.25
                     Applied For       4404 TN UT ER                             $3,863.20                                           $3,863.20                                        $30,505.60          $7,000.00             $189.00
                     Applied For       TN DRT                                                                                                                                           $7,000.00         $7,000.00
                     Applied For       4504 TX UT ER                 2.7%        $6,308.43           $904.20         $24.41          $6,308.43          $904.20          $24.41       $27,492.91        $14,528.68              $392.27
                     Applied For       TX DRT                                       $291.89          $291.89                           $291.89          $291.89                       $10,528.68        $10,528.68
                     Total                                                                                       $114,492.02                                        $114,492.02                                          $710,956.60


    Other Taxes      Applied For       36FP OkwdVillW/H-C                        $2,390.50         $2,390.50         $59.76          $2,390.50        $2,390.50          $59.76       $20,233.25        $20,233.25              $505.85
                     Total                                                                                           $59.76                                              $59.76                                                 $505.85
    Total Taxes                                                                                                  $632,478.03                                        $632,478.03                                        $4,232,719.61

                                                                                 Borrego Health Totals
                                                                   Borrego Community Health Foundation - 330440021-3404
                                                                                 Tax Service Liabilities
               Tax                   Amount                   ID                      Tax                       Amount                     ID                        Tax                        Amount                      ID
0001 Fed W/H                             $233,071.53 330440021        0501 CA W/H                                   $97,860.27 910-4765-4               36FP OkwdVillW/H-C                                 $59.76 Applied For
0003 FICA EE                             $115,431.49 330440021        0504 CA UT ER                                       $0.00 910-4765-4
0002 FICA ER                             $115,431.49 330440021        0508 CA DRT                                         $0.00 Applied For
0023 Fed MWT EE                           $26,995.87 330440021        0505 CA DT EE                                 $16,542.85 910-4765-4
0022 Fed MWT ER                           $26,995.87 330440021        1004 FL UT ER                                       $0.00 3849378
0004 Fed UT ER                                  $0.00 330440021       1008 FL DRT                                         $0.00 Applied For
                                                                      3601 OH W/H                                        $64.49 54198296


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bchf                                    Case 22-02384-LT11                 Filed 06/13/23
                                                                               Payroll    Entered
                                                                                       Summary    06/13/23
                                                                                               Report      16:38:01
                                                                                                      (PR002)                                       Doc 744     Pg. 74 of                               Dayforce
                                                                                            75
Pay Date:             4/14/2023                                                                Borrego Health                                                   Run By:             12997
Pay Period:           3/27/2023 - 4/9/2023                                                    (Committed data only)                                             Commit Date:        4/11/2023 1:00:25 PM
PPN:                  08 - 00                                                                                                                                   Run Type:           Normal
                                                                                                                                                                Run Number:         311
                                                                                                                                                                Check # Range:      16292 - 906653469


                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                    Tax Service Liabilities
                Tax                  Amount                      ID                     Tax              Amount                    ID                     Tax                    Amount                    ID
                                                                        3604 OH UT ER                              $0.00 2000019090
                                                                        3607 OH DRT                                $0.00 Applied For
                                                                        4404 TN UT ER                              $0.00 Applied For
                                                                        4504 TX UT ER                             $24.41 Applied For
Total                                     $517,926.25                                                        $114,492.02                                                                  $59.76
Total Tax Liability                                                                                                                                                                  $632,478.03
Total Tax Impound                                                                                                                                                                    $632,478.03

                                                                                      Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                Client Responsible Tax Liabilities
                Tax                  Amount                      ID                     Tax              Amount                    ID                     Tax                    Amount                    ID
                                                                        OH WCT ER                                  $0.00 Applied For
                                                                        TN DRT                                     $0.00 Applied For
                                                                        TX DRT                                     $0.00 Applied For
Total                                             $0.00                                                            $0.00                                                                   $0.00
Total Taxes                                                                                                                                                                                $0.00

                                                                                    Borrego Health Totals
                                                                      Borrego Community Health Foundation - 330440021-3404
                                                                                  Net Payroll and Impounds
                                                                                                                             Count                            Amount
                            Ceridian Checks 330440021-3404                                                                        18     { 5 $0 }                            $20,193.49
                            Ceridian Direct Deposits 330440021-3404                                                              594    { 37 $0 }                         $1,272,391.53
                            Total Net Payroll                                                                                    612                                      $1,292,585.02
                            Garnishments 330440021-3404                                                                            7                                          $1,609.30
                            Total Garnishment Impound                                                                              7                                          $1,609.30
                            Tax Liability 330440021-3404                                                                                                                    $632,478.03
                            Total Tax Liability                                                                                                                             $632,478.03
                            Total Tax Impound                                                                                                                               $632,478.03
                            Total Impound                                                                                                                                 $1,926,672.35
                            Onsite Checks 330440021-3404                                                                           5                                         $10,929.90
                            Total Adjustments                                                                                      5                                         $10,929.90
                            Cust Resp Taxes 330440021-3404                                                                                                                        $0.00
                            Total                                                                                                                                         $1,937,602.25
                            Impound Date:                                                                                                                                  Apr 13, 2023




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                                                                                      Summary    06/13/23
                                                                                              Report      16:38:01
                                                                                                     (PR002)                                             Doc 744         Pg. 75 of                          Dayforce
                                                                                           75
Pay Date:      4/14/2023                                                                            Borrego Health                                                       Run By:              12997
Pay Period:    3/27/2023 - 4/9/2023                                                                (Committed data only)                                                 Commit Date:         4/11/2023 1:00:25 PM
PPN:           08 - 00                                                                                                                                                   Run Type:            Normal
                                                                                                                                                                         Run Number:          311
                                                                                                                                                                         Check # Range:       16292 - 906653469


                                                                                  Borrego Health Totals
                                                                    Borrego Community Health Foundation - 330440021-3404
                                                                                       Bank Totals
                                          Bank Name                                                                                                   Count                 Amount
                     City National Bank                              Ceridian Checks 330440021-3404                                                      18   { 5 $0 }               $20,193.49
                                                                     Ceridian Direct Deposits 330440021-3404                                            594   { 37 $0              $1,272,391.53
                                                                                                                                                                    }
                                                                     Bank Total                                                                         612                        $1,292,585.02
                     Total                                                                                                                              612                        $1,292,585.02

                                                                                                      Census Data
                             Cur On File**                                                            569            Employees Paid                                                   522
                             New Hires**                                                                8            Employees Not Paid**                                              47
                             Active**                                                                 535            Paid This Month*                                                 522
                             Inactive**                                                                16            Paid On 12th*                                                        0
                             Terminated**                                                              12
                     ** Value computed as of 4/11/2023 1:02:00 PM                                              * Based on the paydate of the payrun




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